                      Case 19-36314 Document 1 Filed in TXSB on 11/12/19 Page 1 of 28
 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
 Southern
 ____________________             Texas
                      District of _________________
                                       (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                         Check if this is an
                                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         04/1

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




1.   Debtor’s name                          Dean Foods Company
                                           ______________________________________________________________________________________________________




2.   All other names debtor used            d/b/a Dairymen's
                                           ______________________________________________________________________________________________________
     in the last 8 years                    d/b/a Hawaii's Dairy
                                           ______________________________________________________________________________________________________
                                            d/b/a IS-IMMUNO STIMULATION
                                           ______________________________________________________________________________________________________
     Include any assumed names,
     trade names, and doing business
                                            d/b/a Lani Moo
                                           ______________________________________________________________________________________________________
     as names                               d/b/a Meadow Gold
                                           ______________________________________________________________________________________________________




3.   Debtor’s federal Employer                        XX-XXXXXXX
                                           ___ ___ – ___ ___ ___ ___ ___ ___ ___
     Identification Number (EIN)



4.   Debtor’s address                      Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business

                                            2711       North Haskell Avenue
                                           ______________________________________________               _______________________________________________
                                           Number     Street                                            Number     Street

                                            Suite 3400
                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box

                                            Dallas                     TX       75204
                                           ______________________________________________               _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                            Dallas
                                           ______________________________________________
                                           County                                                                   See Rider 2
                                                                                                        _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.   Debtor’s website (URL)                 www.deanfoods.com
                                           ____________________________________________________________________________________________________


6.   Type of debtor                         Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
                         Case 19-36314 Document 1 Filed in TXSB on 11/12/19 Page 2 of 28

Debtor
                 Dean Foods Company
                _______________________________________________________                        Case number (if known)_____________________________________
                Name



                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                         B. Check all that apply:

                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                             3115
                                            ___ ___ ___ ___

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the
      debtor filing?                      Chapter 7
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                         Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                             insiders or affiliates) are less than $2,, (amount subject to adjustment on
                                                             4/01/ and every 3 years after that).
                                                         
                                                          The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                             debtor is a small business debtor, attach the most recent balance sheet, statement
                                                             of operations, cash-flow statement, and federal income tax return or if all of these
                                                             documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                            A plan is being filed with this petition.

                                                            Acceptances of the plan were solicited prepetition from one or more classes of
                                                             creditors, in accordance with 11 U.S.C. § 1126(b).

                                                            The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                             Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                             Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                             for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                            The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                             12b-2.
                                          Chapter 12

9.    Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10.   Are any bankruptcy cases            No
      pending or being filed by a                          See Rider 1                                                       Affiliate
      business partner or an              Yes.    Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                             SDTX, Houston
                                                   District _____________________________________________ When
                                                                                                                             11/12/2019
                                                                                                                             __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________


     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
                      Case 19-36314 Document 1 Filed in TXSB on 11/12/19 Page 3 of 28

Debtor         Dean Foods Company
              _______________________________________________________                       Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this    Check all that apply:
      district?
                                        Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                          immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                          district.

                                        A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12.   Does the debtor own or have       No
      possession of any real            Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                      Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                    What is the hazard? _____________________________________________________________________

                                                   It needs to be physically secured or protected from the weather.

                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                    attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                    assets or other options).

                                                   Other _______________________________________________________________________________



                                                Where is the property?_____________________________________________________________________
                                                                          Number          Street

                                                                          ____________________________________________________________________

                                                                          _______________________________________         _______     ________________
                                                                          City                                            State       ZIP Code


                                                Is the property insured?
                                                   No
                                                   Yes. Insurance agency ____________________________________________________________________

                                                         Contact name     ____________________________________________________________________

                                                         Phone            ________________________________




            Statistical and administrative information



13.   Debtor’s estimation of           Check one:
      available funds                   Funds will be available for distribution to unsecured creditors.
                                        After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                        1-49                            1,000-5,000                              25,001-50,000
14.   Estimated number of               50-99                           5,001-10,000                             50,001-100,000
      creditors
                                        100-199                         10,001-25,000                            More than 100,000
                                        200-999

                                        $0-$50,000                      $1,000,001-$10 million                   $500,000,001-$1 billion
15.   Estimated assets                  $50,001-$100,000                $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                        $100,001-$500,000               $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                        $500,001-$1 million             $100,000,001-$500 million                More than $50 billion



  Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
                      Case 19-36314 Document 1 Filed in TXSB on 11/12/19 Page 4 of 28

Debtor          Dean Foods Company
               _______________________________________________________                         Case number (if known)_____________________________________
               Name



                                         $0-$50,000                         $1,000,001-$10 million                   $500,000,001-$1 billion
16.   Estimated liabilities              $50,001-$100,000                   $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                         $100,001-$500,000                  $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                         $500,001-$1 million                $100,000,001-$500 million                More than $50 billion


             Request for Relief, Declaration, and Signatures


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                            petition.
      debtor
                                           I have been authorized to file this petition on behalf of the debtor.

                                           I have examined the information in this petition and have a reasonable belief that the information is true and
                                            correct.


                                        I declare under penalty of perjury that the foregoing is true and correct.

                                                         11/12/2019
                                            Executed on _________________
                                                        MM / DD / YYYY


                                        8 /s/ Gary Rahlfs
                                            _____________________________________________               Gary Rahlfs
                                                                                                       _______________________________________________
                                            Signature of authorized representative of debtor           Printed name

                                                   Senior Vice President and Chief Financial
                                            Title _________________________________________               Officer




18.   Signature of attorney
                                        8 /s/ William R. Greendyke
                                            _____________________________________________              Date          11/12/2019
                                                                                                                    _________________
                                            Signature of attorney for debtor                                        MM     / DD / YYYY



                                             William R. Greendyke
                                            _________________________________________________________________________________________________
                                            Printed name
                                             Norton Rose Fulbright US LLP
                                            _________________________________________________________________________________________________
                                            Firm name
                                            1301        McKinney St., Suite 5100
                                            _________________________________________________________________________________________________
                                            Number      Street
                                             Houston
                                            ____________________________________________________            TX
                                                                                                           ____________  77010
                                                                                                                        ______________________________
                                            City                                                           State        ZIP Code

                                             713-651-5151
                                            ____________________________________
                                                                                                 william.greendyke@nortonrosefulbright.com
                                                                                                          __________________________________________
                                            Contact phone                                                  Email address



                                             08390450
                                            ______________________________________________________  Texas
                                                                                                   ____________
                                            Bar number                                             State




  Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 4
        Case 19-36314 Document 1 Filed in TXSB on 11/12/19 Page 5 of 28



                                             Rider 1

        Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a
petition for relief in the United States Bankruptcy Court for the Southern District of Texas under
chapter 11 of title 11 of the United States Code. The Debtors have moved for joint administration
of these cases under the case number assigned to the chapter 11 case of Southern Foods Group,
LLC.

 Southern Foods Group,        Dean International Holding     Friendly’s Ice Cream Holdings
 LLC                          Company                        Corp.
 Dean Foods Company           Dean Management, LLC           Friendly’s Manufacturing and
                                                             Retail, LLC
 Alta-Dena Certified Dairy, Dean Puerto Rico                 Garelick Farms, LLC
 LLC                        Holdings, LLC
 Berkeley Farms, LLC        Dean Services, LLC               Mayfield Dairy Farms, LLC

 Cascade Equity Realty,       Dean Transportation, Inc.      Midwest Ice Cream Company,
 LLC                                                         LLC
 Country Fresh, LLC           Dean West II, LLC              Model Dairy, LLC

 Dairy Information            Dean West, LLC                 Reiter Dairy, LLC
 Systems Holdings, LLC
 Dairy Information            DFC Aviation Services,         Sampson Ventures, LLC
 Systems, LLC                 LLC
 Dean Dairy Holdings,         DFC Energy Partners, LLC       Shenandoah’s Pride, LLC
 LLC
 Dean East II, LLC            DFC Ventures, LLC              Steve’s Ice Cream, LLC

 Dean East, LLC               DGI Ventures, Inc.             Suiza Dairy Group, LLC

 Dean Foods North             DIPS Limited Partner II        Tuscan/Lehigh Dairies, Inc.
 Central, LLC
 Dean Foods of Wisconsin,     Franklin Holdings, Inc.        Uncle Matt’s Organic, Inc.
 LLC
 Dean Holding Company         Fresh Dairy Delivery, LLC      Verifine Dairy Products of
                                                             Sheboygan, LLC
 Dean Intellectual Property
 Services II, Inc.
            Case 19-36314 Document 1 Filed in TXSB on 11/12/19 Page 6 of 28



                                           Rider 2

                      Addresses of Property Locations for Various Debtors

      Debtor             Property Name          Property Address           City    State    Zip

Southern Foods        ENGLEWOOD -              1325 West Oxford     Englewood      CO      80110
Group, LLC            MEADOW GOLD DAIRY        Avenue
Southern Foods        GREELEY - MEADOW         450 25th Street      Greeley        CO      80631
Group, LLC            GOLD DAIRY
Southern Foods        HILO - MEADOW GOLD       11 Railroad Ave.     Hilo           HI      96720
Group, LLC            DAIRY
Southern Foods        HONOLULU - MEADOW        1302 Elm Street      Honolulu       HI      96814
Group, LLC            GOLD DAIRY
Southern Foods        BOISE - MEADOW           1301 West            Boise          ID      83702
Group, LLC            GOLD DAIRY               Bannock Street
Southern Foods        HAMMOND - DEAN           4001 Hwy 190         Hammond        LA      70401
Group, LLC            FOODS                    West
Southern Foods        BILLINGS - MEADOW        109 South            Billings       MT      59101
Group, LLC            GOLD DAIRY               Broadway
Southern Foods        GREAT FALLS -            312 3rd Avenue       Great Falls    MT      59405
Group, LLC            MEADOW GOLD DAIRY        South
Southern Foods        LAS VEGAS - MEADOW       6350 East            Las Vegas      NV      89115
Group, LLC            GOLD DAIRY               Centennial Parkway
Southern Foods        TULSA - OAK FARMS        215 North Denver     Tulsa          OK      74103
Group, LLC
Southern Foods        DALLAS - OAK FARMS       3114 South Haskell Dallas           TX      75223
Group, LLC                                     Avenue
Southern Foods        HOUSTON - OAK            3417 Leeland Street Houston         TX      77003
Group, LLC            FARMS
Southern Foods        SAN ANTONIO - OAK        1314                 San Antonio    TX      78201
Group, LLC            FARMS                    Fredericksburg
Southern Foods        SAINT GEORGE -           1310 East            St. George     UT      84790
Group, LLC            SOUTHERN FOODS           Commerce
Southern Foods        SALT LAKE CITY -         3730 West 1820       Salt Lake      UT      84104
Group, LLC            MEADOW GOLD DAIRY        South                City
Alta-Dena Certified   CITY OF INDUSTRY         17637 East Valley    City of        CA      91744
Dairy, LLC            NORTH - ALTA DENA        Boulevard            Industry
                      DAIRY
Alta-Dena Certified   CITY OF INDUSTRY         17851 East           City of        CA      91748
Dairy, LLC            SOUTH - ALTA DENA        Railroad Street      Industry
                      DAIRY
Berkeley Farms,       HAYWARD -                25500 Clawiter       Hayward        CA      95454
LLC                   BERKELEY FARMS           Road
Country Fresh, LLC    GRAND RAPIDS -           2555 Buchanan SW     Grand Rapids   MI      49548
                      COUNTRY FRESH
           Case 19-36314 Document 1 Filed in TXSB on 11/12/19 Page 7 of 28



Country Fresh, LLC   MARQUETTE - JILBERT   200 Meeske            Marquette     MI   49855
                     DAIRY                 Avenue
Dean Dairy           BIRMINGHAM -          36 Barber Court       Birmingham    AL   35209
Holdings, LLC        BARBER DAIRY
Dean Dairy           MIAMI - McARTHUR      6851 Northeast 2nd    Miami         FL   33127
Holdings, LLC        DAIRY                 Avenue
Dean Dairy           ORANGE CITY - T.G.    1675 State Road       Deland        FL   32763
Holdings, LLC        LEE DAIRY             472
Dean Dairy           ORLANDO - T.G. LEE    315 North Bumby       Orlando       FL   32803
Holdings, LLC        DAIRY                 Avenue
Dean Dairy           CHEMUNG - DEAN        6303 Maxon Road       Harvard       IL   60033
Holdings, LLC        FOODS
Dean Dairy           ROCKFORD - DEAN       1126 Kilburn          Rockford      IL   61101
Holdings, LLC        FOODS                 Avenue
Dean Dairy           ALBUQUERQUE -         1911 2nd Street       Albuquerque   NM   87102
Holdings, LLC        CREAMLAND DAIRY       Northwest
Dean Dairy           LEBANON - SWISS       2401 Walnut Street    Lebanon       PA   17042
Holdings, LLC        PREMIUM
Dean Dairy           SHARPSVILLE - DEAN    1858 Oneida Lane      Sharpsville   PA   16150
Holdings, LLC        DAIRY PRODUCTS
Dean Dairy           NASHVILLE - PURITY    360 Murfreesboro      Nashville     TN   37210
Holdings, LLC        DAIRY                 Pike
Dean Dairy           EL PASO - PRICE'S     600 North Piedras     El Paso       TX   79903
Holdings, LLC        CREAMERIES            Street
Dean Dairy           LUBBOCK - GANDY'S     201 University        Lubbock       TX   79415
Holdings, LLC                              Avenue
Dean Foods North     LE MARS - DEAN        1188 Lincoln Street   Le Mars       IA   51031
Central, LLC         FOODS                 SW
Dean Foods North     WOODBURY - DEAN       1930 Woodale          Woodbury      MN   55125
Central, LLC         FOODS LAND O'LAKES    Drive
Dean Foods North     BISMARCK - DEAN       1207 East Main        Bismarck      ND   58502
Central, LLC         FOODS                 Avenue
Dean Foods North     SIOUX FALLS - LAND    1200 West Russell     Sioux Falls   SD   57104
Central, LLC         O'LAKES               Street
Dean Foods of        DEPERE - DEAN FOODS   3399 South Ridge      Ashwaubenon WI     54115
Wisconsin, LLC       OF WI                 Road
Friendly’s           WILBRAHAM -           1855 Boston Road      Wilbraham     MA   01095
Manufacturing and    FRIENDLY'S
Retail, LLC
Garelick Farms,      FRANKLIN - GARELICK   1199 West Central     Franklin      MA   02038
LLC                  FARMS                 Street
Garelick Farms,      BURLINGTON -          117 Cumberland        Burlington    NJ   8016
LLC                  GARELICK FARMS        Boulevard
Garelick Farms,      RENSSELAER -          504 3rd Avenue        Rensselaer    NY   12144
LLC                  GARELICK FARMS        Extension
            Case 19-36314 Document 1 Filed in TXSB on 11/12/19 Page 8 of 28



Mayfield Dairy       BIRMINGHAM -           126 Barber Court      Birmingham    AL   35209
Farms, LLC           MAYFIELD ICE CREAM
Mayfield Dairy       ATHENS - MAYFIELD      806 E. Madison        Athens        TN   37303
Farms, LLC           DAIRY                  Avenue
Midwest Ice Cream    BELVIDERE - DEAN       630 Meadow Street     Belvidere     IL   61008
Company, LLC         FOODS (ICE CREAM)
Model Dairy, LLC     RENO - MODEL DAIRY     500 Gould Street      Reno          NV   89505
Reiter Dairy, LLC    SPRINGFIELD - REITER   1961 Commerce         Springfield   OH   45504
                     DAIRY                  Circle
Suiza Dairy Group,   O'FALLON - PET DAIRY   610 East State        O'Fallon      IL   62269
LLC                                         Street
Suiza Dairy Group,   DECATUR - DEAN         400 South Chamber     Decatur       IN   46733
LLC                  FOODS                  Drive
Suiza Dairy Group,   HUNTINGTON -           1019 Flaxmill Road    Huntington    IN   46750
LLC                  SCHENKEL'S DAIRY
Suiza Dairy Group,   HIGH POINT - DAIRY     1350 West Fairfield   High Point    NC   27263
LLC                  FRESH                  Road
Suiza Dairy Group,   WINSTON-SALEM -        2221 North            Winston-      NC   27105
LLC                  DAIRY FRESH            Patterson Avenue      Salem
Suiza Dairy Group,   MARIETTA -             1701 Greene Street    Marietta      OH   45750
LLC                  BROUGHTON FOODS        (State Road 26)
Suiza Dairy Group,   TOLEDO - FROSTBITE     4117 Fitch Road       Toledo        OH   43613
LLC                  NOVELTY
Suiza Dairy Group,   SPARTANBURG - PET      1291 New Cut          Spartanburg   SC   29305
LLC                  DAIRY                  Road
Suiza Dairy Group,   NASHVILLE -            1401 Church Street    Nashville     TN   37203
LLC                  COUNTRY DELITE
Tuscan/Lehigh        LANSDALE - LEHIGH      880 Allentown         Lansdale      PA   19446
Dairies, Inc.        DAIRY                  Road
Tuscan/Lehigh        SCHUYLKILL HAVEN -     110 Manheim Road      Schuylkill    PA   17972
Dairies, Inc.        LEHIGH DAIRY                                 Haven
         Case 19-36314 Document 1 Filed in TXSB on 11/12/19 Page 9 of 28



                                   2)),&(5¶6&(57,),&$7(
                

7KHXQGHUVLJQHG*DU\5DKOIVKHUHE\FHUWLILHVDVIROORZV
       
         D ,DPDGXO\TXDOLILHGDQGHOHFWHGRIILFHURI'HDQ)RRGV&RPSDQ\DFRUSRUDWLRQGXO\
      RUJDQL]HG DQG H[LVWLQJ XQGHU WKH ODZV RI WKH 6WDWH RI 'HODZDUH DQG DQ DXWKRUL]HG
      VLJQDWRU\RQEHKDOIRI',36/LPLWHG3DUWQHUV,,DQGDVVXFK,DPIDPLOLDUZLWKWKHIDFWV
      KHUHLQ FHUWLILHG DQG DP GXO\ DXWKRUL]HG WR FHUWLI\ WKH VDPH RQ EHKDOI RI 'HDQ )RRGV
      &RPSDQ\DQGHDFKRIWKHHQWLWLHVOLVWHGRQ$QQH[$RIWKH2PQLEXV5HVROXWLRQVDWWDFKHG
      KHUHWR HDFKD³&RPSDQ\´DQGFROOHFWLYHO\WKH³&RPSDQLHV´ 
       
         E $WWDFKHGKHUHWRDV([KLELWLVDWUXHFRUUHFWDQGFRPSOHWHFRS\RIWKHUHVROXWLRQV
      GXO\ DGRSWHG E\ WKH UHVSHFWLYH ERDUG RI GLUHFWRUV PHPEHUV RI WKH ERDUG RI PDQDJHUV
      WUXVWHHDQGVROHPHPEHUDVDSSOLFDEOHRIHDFK&RPSDQ\ WKH³2PQLEXV5HVROXWLRQV´ 
      HIIHFWLYH1RYHPEHU
       
         F  7KH 2PQLEXV 5HVROXWLRQV KDYH QRW EHHQ DPHQGHG UHVFLQGHG PRGLILHG RU UHYRNHG
      VLQFHWKHGDWHRIDGRSWLRQWKHUHRIDQGDUHLQIXOOIRUFHDQGHIIHFWRQWKHGDWHKHUHRI
       
       
,1 :,71(66 :+(5(2) WKH XQGHUVLJQHG KDV H[HFXWHG WKLV FHUWLILFDWH DV RI 1RYHPEHU 



                                                  %\/s/ Gary Rahlfs
                                                  1DPH*DU\5DKOIV
                                                  7LWOH6HQLRU9LFH3UHVLGHQWDQG&)2
       
       
                                                    
                                                    





                                                                                                       
    Case 19-36314 Document 1 Filed in TXSB on 11/12/19 Page 10 of 28



   
                               (;+,%,7
                                   
                                   





                                                                      
         Case 19-36314 Document 1 Filed in TXSB on 11/12/19 Page 11 of 28



                                        201,%865(62/87,216
                           
                                               1RYHPEHU

         7KHPHPEHUVRIWKHUHVSHFWLYHERDUGRIGLUHFWRUVPHPEHUVRIWKHERDUGRIPDQDJHUVWUXVWHHDQG
VROH PHPEHU HDFK UHIHUUHG WR KHUHLQ DV WKH ³%RDUG´  DV DSSOLFDEOH RI HDFK RI WKH HQWLWLHV OLVWHG RQ
$QQH[$DWWDFKHGKHUHWR HDFKVXFKHQWLW\D³&RPSDQ\´DQGFROOHFWLYHO\WKH³&RPSDQLHV´ KHUHE\WDNH
WKHIROORZLQJDFWLRQVDQGDGRSWWKHIROORZLQJUHVROXWLRQVSXUVXDQWWRWKHE\ODZVRSHUDWLQJDJUHHPHQWRU
OLPLWHG OLDELOLW\ FRPSDQ\ DJUHHPHQW DV DPHQGHG UHVWDWHG DPHQGHG DQG UHVWDWHG VXSSOHPHQWHG RU
RWKHUZLVH PRGLILHG RQ RU SULRU WR WKH GDWH KHUHRI  DV DSSOLFDEOH RI HDFK &RPSDQ\ DQG WKH DSSOLFDEOH
ODZVRIWKHMXULVGLFWLRQLQZKLFKVXFK&RPSDQ\LVRUJDQL]HG
         
     92/817$5<3(7,7,21)255(/,()81'(57+(%$1.5837&<&2'(

         :+(5($6 RQ 1RYHPEHU   WKH %RDUG RI HDFK &RPSDQ\ UHYLHZHG DQG FRQVLGHUHG
FHUWDLQ PDWHULDOV SUHVHQWHG E\ WKH PDQDJHPHQW DQG WKH ILQDQFLDO DQG OHJDO DGYLVRUV RI VXFK &RPSDQ\
LQFOXGLQJEXWQRWOLPLWHGWRPDWHULDOVUHJDUGLQJWKH&RPSDQ\¶VOLDELOLWLHVDQGREOLJDWLRQVLWVOLTXLGLW\
WKHVWUDWHJLFDOWHUQDWLYHVDYDLODEOHWRLWDQGWKHHIIHFWRIWKHIRUHJRLQJRQLWVEXVLQHVVDQGWKH%RDUGKDV
KDG DGHTXDWH RSSRUWXQLW\ WR FRQVXOW VXFK SHUVRQV UHJDUGLQJ WKH PDWHULDOV SUHVHQWHG REWDLQ DGGLWLRQDO
LQIRUPDWLRQDQGWRIXOO\FRQVLGHUHDFKRIWKHVWUDWHJLFDOWHUQDWLYHVDYDLODEOHWRVXFK&RPSDQ\

         12:7+(5()25(%(,7

         5(62/9(' HDFK %RDUG KDV GHWHUPLQHG WKDW LW LV GHVLUDEOH DQG LQ WKH EHVW LQWHUHVWV RI WKH
&RPSDQ\LWVLQWHUHVWKROGHUVLWVFUHGLWRUVDQGRWKHUSDUWLHVLQLQWHUHVWWKDWWKH&RPSDQ\ILOHRUFDXVHWR
EH ILOHG YROXQWDU\ SHWLWLRQV IRU UHOLHI D ³%DQNUXSWF\ 3HWLWLRQ´ DQG FROOHFWLYHO\ WKH ³%DQNUXSWF\
3HWLWLRQV´ XQGHUWKHSURYLVLRQVRIFKDSWHURIWLWOHRIWKH8QLWHG6WDWHV&RGH86&HWVHT
 DVDPHQGHGWKH³%DQNUXSWF\&RGH´ LQWKH8QLWHG6WDWHV%DQNUXSWF\&RXUWIRUWKH6RXWKHUQ'LVWULFWRI
7H[DV +RXVWRQ 'LYLVLRQ WKH ³%DQNUXSWF\ &RXUW´  DQG LQ DFFRUGDQFH ZLWK WKH UHTXLUHPHQWV LQ VXFK
&RPSDQ\¶V JRYHUQLQJ GRFXPHQWV DQG DSSOLFDEOH ODZ WKH %RDUG KHUHE\ FRQVHQWV WR DXWKRUL]HV DQG
DSSURYHVWKHILOLQJRIWKH%DQNUXSWF\3HWLWLRQVRQEHKDOIRIVXFK&RPSDQ\HDFKVXFK&RPSDQ\DFWLQJ
LQGLYLGXDOO\DQGRQEHKDOIRIDQ\RWKHU&RPSDQ\IRUZKLFKLWVHUYHVDVDPHPEHUPDQDJLQJPHPEHURU
JHQHUDOSDUWQHUDQG

         5(62/9(' )857+(5 WKDW WKH DSSRLQWHG RIILFHUV RI HDFK &RPSDQ\ DQG HDFK RI WKHP
LQGLYLGXDOO\ DQG DQ\ SHUVRQV WR ZKRP DQ\ VXFK RIILFHU GHOHJDWHV FHUWDLQ UHVSRQVLELOLWLHV FROOHFWLYHO\
ZLWKUHVSHFWWRHDFK&RPSDQ\DQGHDFKDFWLQJDORQHRUZLWKRQHRUPRUHRWKHUSHUVRQVWKH³$XWKRUL]HG
3HUVRQV´ EHDQGKHUHE\DUHDXWKRUL]HGWR L H[HFXWHDQGILOHRQEHKDOIRIVXFK&RPSDQ\GLUHFWO\DVDQ
$XWKRUL]HG 3HUVRQ RI VXFK &RPSDQ\ DQGRU RQ EHKDOI RI DQ\ RWKHU &RPSDQ\ DFWLQJ DV D PHPEHU
PDQDJLQJ PHPEHU RU JHQHUDO SDUWQHU RI VXFK RWKHU &RPSDQ\ DOO SHWLWLRQV VFKHGXOHV OLVWV DQG RWKHU
PRWLRQVSDSHUVSOHDGLQJVRUGRFXPHQWVDQGWRWDNHDQ\DQGDOODFWLRQWKDWVXFK$XWKRUL]HG3HUVRQPD\
GHHPQHFHVVDU\RUSURSHUWRREWDLQFKDSWHUEDQNUXSWF\UHOLHILQFOXGLQJEXWQRWOLPLWHGWRDQ\DFWLRQ
QHFHVVDU\ WR PDLQWDLQ WKH RUGLQDU\ FRXUVH RSHUDWLRQV RI WKH &RPSDQ\¶V EXVLQHVVHV DQG FRRUGLQDWH DQG
HIIHFWXDWHWKHEDQNUXSWF\FDVHV LL DSSHDUDVQHFHVVDU\DWDOOEDQNUXSWF\SURFHHGLQJVLQWKH%DQNUXSWF\
&RXUWRQEHKDOIRIVXFK&RPSDQ\DQG LLL SD\DOOVXFKH[SHQVHVZKHUHQHFHVVDU\RUDSSURSULDWHLQRUGHU
WRFDUU\RXWIXOO\WKHLQWHQWDQGDFFRPSOLVKWKHSXUSRVHVRIWKHUHVROXWLRQVDGRSWHGKHUHLQ

     5(7(17,212)352)(66,21$/6

         5(62/9(' WKDW WKH $XWKRUL]HG 3HUVRQV EH DQG KHUHE\ DUH DXWKRUL]HG HPSRZHUHG DQG



                                                                                                                     
          Case 19-36314 Document 1 Filed in TXSB on 11/12/19 Page 12 of 28



GLUHFWHGWRHPSOR\RQEHKDOIRIHDFK&RPSDQ\VXEMHFWWR%DQNUXSWF\&RXUWDSSURYDO L WKHODZILUPRI
'DYLV3RON :DUGZHOO//3DVJHQHUDOEDQNUXSWF\FRXQVHO LL WKHODZILUPRI1RUWRQ5RVH)XOEULJKW
86//3DVORFDOFRXQVHODQGFRQIOLFWVFRXQVHO LLL $OYDUH] 0DUVDODVILQDQFLDODGYLVRU LY (YHUFRUH
*URXS//&DVLQYHVWPHQWEDQNHU Y (SLT%DQNUXSWF\6ROXWLRQV//&DVQRWLFHDQGFODLPVDJHQWDQG
 YL DQ\RWKHUOHJDOFRXQVHODFFRXQWDQWVILQDQFLDODGYLVRUVUHVWUXFWXULQJDGYLVRUVRURWKHUSURIHVVLRQDOV
DV WKH $XWKRUL]HG 3HUVRQV GHHP QHFHVVDU\ DSSURSULDWH RU DGYLVDEOH HDFK WR UHSUHVHQW DQG DVVLVW VXFK
&RPSDQ\ LQ FDUU\LQJ RXW LWV UHVSHFWLYH GXWLHV DQG UHVSRQVLELOLWLHV DQG H[HUFLVLQJ LWV UHVSHFWLYH ULJKWV
XQGHU WKH %DQNUXSWF\ &RGH LQFOXGLQJ EXW QRW OLPLWHG WR WKH ODZ ILUPV ILOLQJ DQ\ SOHDGLQJV RU
UHVSRQVHV  DQG LQ FRQQHFWLRQ WKHUHZLWK WKH $XWKRUL]HG 3HUVRQV EH DQG KHUHE\ DUH DXWKRUL]HG
HPSRZHUHG DQG GLUHFWHG LQ DFFRUGDQFH ZLWK WKH WHUPV DQG FRQGLWLRQV KHUHRI WR H[HFXWH DSSURSULDWH
UHWHQWLRQ DJUHHPHQWV SD\ DSSURSULDWH UHWDLQHUV DQG WR FDXVH WR EH ILOHG DSSURSULDWH DSSOLFDWLRQV IRU
DXWKRULW\WRUHWDLQVXFKVHUYLFHVDQG

        5(62/9(' )857+(5 WKDW WKH $XWKRUL]HG 3HUVRQV EH DQG KHUHE\ DUH DXWKRUL]HG
HPSRZHUHGDQGGLUHFWHGWRH[HFXWHDQGILOHDOOSHWLWLRQVVFKHGXOHVPRWLRQVOLVWVDSSOLFDWLRQVSOHDGLQJV
DQG RWKHU SDSHUV DQG WR SHUIRUP VXFK IXUWKHU DFWLRQV DQG H[HFXWH VXFK IXUWKHU GRFXPHQWDWLRQ WKDW WKH
$XWKRUL]HG3HUVRQVGHHPQHFHVVDU\DSSURSULDWHRUGHVLUDEOHLQDFFRUGDQFHZLWKWKHVHUHVROXWLRQV

     '(%725,13266(66,21),1$1&,1*

        :+(5($6 HDFK %RDUG KDV UHYLHZHG DQG FRQVLGHUHG WKH PDWHULDOV SUHVHQWHG E\ WKH
PDQDJHPHQW WHDP DQG WKH ILQDQFLDO DQG OHJDO DGYLVRUV RI VXFK &RPSDQ\ LQFOXGLQJ WKH SUHVHQWDWLRQV
UHJDUGLQJ WKH OLDELOLWLHV DQG OLTXLGLW\ RI WKH &RPSDQ\ WKH VWUDWHJLF DOWHUQDWLYHV DYDLODEOH WR LW DQG WKH
LPSDFWRIWKHIRUHJRLQJRQWKH&RPSDQ\¶VEXVLQHVVHVDQG

         :+(5($6 WKH %RDUG RI HDFK &RPSDQ\ KDV GHWHUPLQHG WKDW LW LV GHVLUDEOH DQG LQ WKH EHVW
LQWHUHVWRIVXFK&RPSDQ\LWVLQWHUHVWKROGHUVLWVFUHGLWRUVDQGRWKHUSDUWLHVLQLQWHUHVWWR L REWDLQWKH
EHQHILWVIURPWKHLQFXUUHQFHRIREOLJDWLRQVFRQWHPSODWHGE\WKDWFHUWDLQ6XSHUSULRULW\6HFXUHG'HEWRULQ
3RVVHVVLRQ &UHGLW $JUHHPHQW D ³',3 &UHGLW $JUHHPHQW´  E\ DQG DPRQJ WKH &RPSDQLHV WKH
³%RUURZHU´ WKHOHQGHUVSDUW\WKHUHWR WKH³',3/HQGHUV´ DQGWKHDGPLQLVWUDWLYHDJHQW WKH³$JHQW´ 
RQ VXEVWDQWLDOO\ WKH WHUPV VHW IRUWK LQ WKDW FHUWDLQ WHUP VKHHW SUHVHQWHG WR WKH %RDUG LQ HDFK FDVH ZLWK
VXFK PRGLILFDWLRQV DV WKH $XWKRUL]HG 3HUVRQV PD\ DSSURYH DQG LL  WR FRQVXPPDWH WKH WUDQVDFWLRQV
FRQWHPSODWHGWKHUHE\ZKLFKLQWKH%RDUG¶VMXGJPHQWDUHQHFHVVDU\DQGDSSURSULDWHWRWKHEXVLQHVVWKH
&RPSDQ\ DQG ZKLFK ',3 &UHGLW $JUHHPHQW PD\ EH VHFXUHG E\ DQ\ RU DOO DVVHWV RI VXFK &RPSDQ\
SXUVXDQWWRRQHRUPRUHVHFXULW\DJUHHPHQWVPRUWJDJHVGHHGVRIWUXVWSOHGJHVRUVLPLODUGRFXPHQWV WKH
³6HFXULW\'RFXPHQWV´ DQG LLL WRVHHNDSSURYDORIVDPHIURPWKH%DQNUXSWF\&RXUW

         5(62/9(' WKDW WKH %RDUG RI HDFK &RPSDQ\ KHUHE\ DSSURYHV WKH QHJRWLDWLRQ H[HFXWLRQ
GHOLYHU\ DQG SHUIRUPDQFH RI WKH ',3 &UHGLW $JUHHPHQW DQG 6HFXULW\ 'RFXPHQWV KDYLQJ VXFK IRUPV
WHUPVDQGSURYLVLRQVLQFOXGLQJDQ\JUDQWRIVHFXULW\LQWHUHVWVJUDQWRIDGHTXDWHSURWHFWLRQDQGOLHQVWR
WKH ',3 /HQGHUV ERUURZLQJV DQG JXDUDQWLHV RI LQGHEWHGQHVV WKHUHXQGHU DV VKDOO EH GHWHUPLQHG WR EH
QHFHVVDU\ RU DSSURSULDWH E\ DQ\ $XWKRUL]HG 3HUVRQ H[HFXWLQJ WKH VDPH RQ EHKDOI RI VXFK &RPSDQ\
GLUHFWO\DVDQ$XWKRUL]HG3HUVRQRIVXFK&RPSDQ\DQGRURQEHKDOIRIDQ\RWKHU&RPSDQ\DFWLQJDVD
PHPEHU PDQDJLQJ PHPEHU RU JHQHUDO SDUWQHU RI VXFK &RPSDQ\ WKH H[HFXWLRQ WKHUHRI E\ DQ\ VXFK
$XWKRUL]HG3HUVRQWREHFRQFOXVLYHHYLGHQFHRIVXFKGHWHUPLQDWLRQ

        5(62/9(')857+(5WKDWHDFK$XWKRUL]HG3HUVRQRIWKH&RPSDQ\LVKHUHE\DXWKRUL]HGDQG
GLUHFWHGWRWDNHVXFKDFWLRQVDQGQHJRWLDWHRUFDXVHWREHSUHSDUHGDQGQHJRWLDWHGDQGWRH[HFXWHGHOLYHU
SHUIRUPDQGFDXVHWKHSHUIRUPDQFHRIVXFKRWKHUDJUHHPHQWVFHUWLILFDWHVLQVWUXPHQWVUHFHLSWVSHWLWLRQV
PRWLRQVFRPPLWPHQWOHWWHUVIHHOHWWHUVRURWKHUSDSHUVRUGRFXPHQWVLQFRQQHFWLRQZLWKWKH',3&UHGLW
$JUHHPHQW LQFOXGLQJEXWQRWOLPLWHGWRWKHH[HFXWLRQGHOLYHU\DQGSHUIRUPDQFHRIDQ\DPHQGPHQWWR



                                                                                                                          
         Case 19-36314 Document 1 Filed in TXSB on 11/12/19 Page 13 of 28



DQ\FUHGLWIDFLOLW\SUHGDWLQJWKH%DQNUXSWF\3HWLWLRQV  FROOHFWLYHO\ZLWKWKH',3&UHGLW$JUHHPHQWDQG
6HFXULW\'RFXPHQWVWKH³)LQDQFLQJ'RFXPHQWV´ LQVXFKIRUPDVVKDOOEHDSSURYHGE\DQ\$XWKRUL]HG
3HUVRQ DFWLQJ GLUHFWO\ DV DQ $XWKRUL]HG 3HUVRQ RQ EHKDOI RI VXFK &RPSDQ\ DQGRU RQ EHKDOI RI VXFK
&RPSDQ\DFWLQJDVDPHPEHUPDQDJLQJPHPEHURUJHQHUDOSDUWQHURIDQ\RWKHU&RPSDQ\VXFKDSSURYDO
WREHFRQFOXVLYHO\HYLGHQFHGE\VXFK$XWKRUL]HG3HUVRQ¶VH[HFXWLRQDQGGHOLYHU\WKHUHRI

         5(62/9(' )857+(5 WKDW WKH &RPSDQLHV DQG HDFK RI WKHP DV GHEWRUV DQG GHEWRUVLQ
SRVVHVVLRQXQGHUWKH%DQNUXSWF\&RGHEHKHUHE\DUHDXWKRUL]HGWRLQFXUDQ\DQGDOOREOLJDWLRQVIHHVDQG
FRVWV DQG WR XQGHUWDNH DQ\ DQG DOO UHODWHG WUDQVDFWLRQV FRQWHPSODWHG XQGHU WKH )LQDQFLQJ 'RFXPHQWV
 FROOHFWLYHO\ WKH ³)LQDQFLQJ 7UDQVDFWLRQV´  LQFOXGLQJ JUDQWLQJ OLHQV LQFOXGLQJ ILUVWSULRULW\ SULPLQJ
OLHQVRQLWVDVVHWVWRVHFXUHDQ\DQGDOOREOLJDWLRQVWKHUHXQGHU

         5(62/9(' )857+(5 WKDW ZLWK UHVSHFW WR HDFK &RPSDQ\ WKH $XWKRUL]HG 3HUVRQV EH DQG
KHUHE\DUHDXWKRUL]HGGLUHFWHGDQGHPSRZHUHGLQWKHQDPHRIDQGRQEHKDOIRIVXFK&RPSDQ\GLUHFWO\
DV$XWKRUL]HG3HUVRQVRIWKH&RPSDQ\DQGRURQEHKDOIRIVXFK&RPSDQ\DFWLQJDVDPHPEHUPDQDJLQJ
PHPEHU RU JHQHUDO SDUWQHU RI DQ\ RWKHU &RPSDQ\ DV GHEWRUV DQG GHEWRUVLQSRVVHVVLRQ WR WDNH VXFK
DFWLRQVDVLQWKHLUGLVFUHWLRQDUHGHWHUPLQHGWREHQHFHVVDU\GHVLUDEOHRUDSSURSULDWHWRH[HFXWHGHOLYHU
DQGILOH L WKH)LQDQFLQJ'RFXPHQWVDQGVXFKDJUHHPHQWVFHUWLILFDWHVLQVWUXPHQWVJXDUDQWLHVQRWLFHV
DQG DQ\ DQG DOO RWKHU GRFXPHQWV LQFOXGLQJ ZLWKRXW OLPLWDWLRQ DQ\ DPHQGPHQWV VXSSOHPHQWV
PRGLILFDWLRQV UHQHZDOV UHSODFHPHQWV FRQVROLGDWLRQV VXEVWLWXWLRQV DQG H[WHQVLRQV RI DQ\ )LQDQFLQJ
'RFXPHQWVQHFHVVDU\GHVLUDEOHRUDSSURSULDWHWRIDFLOLWDWHWKH)LQDQFLQJ7UDQVDFWLRQV LL DOOSHWLWLRQV
VFKHGXOHVOLVWVDQGRWKHUPRWLRQVSDSHUVRUGRFXPHQWVZKLFKVKDOOLQKLVKHUMXGJPHQWEHQHFHVVDU\
SURSHU RU DGYLVDEOH ZKLFK GHWHUPLQDWLRQ VKDOO EH FRQFOXVLYHO\ HYLGHQFHG E\ KLV RU WKHLU H[HFXWLRQ
WKHUHRI LLL  VXFK RWKHU LQVWUXPHQWV FHUWLILFDWHV QRWLFHV DVVLJQPHQWV DQG GRFXPHQWV DV PD\ EH
UHTXHVWHGE\WKH',3/HQGHUVRUWKH$JHQWDQG LY VXFKIRUPVRIRIILFHU¶VFHUWLILFDWHVDQGFRPSOLDQFH
FHUWLILFDWHV LIDQ\ DVPD\EHUHTXLUHGE\WKH)LQDQFLQJ'RFXPHQWV

          5(62/9(' )857+(5WKDWZLWKUHVSHFWWRHDFK&RPSDQ\WKH$XWKRUL]HG3HUVRQVEHDQG
KHUHE\DUHDXWKRUL]HGGLUHFWHGDQGHPSRZHUHGLQWKHQDPHRIDQGRQEHKDOIRIVXFK&RPSDQ\GLUHFWO\
DV$XWKRUL]HG3HUVRQVRIWKH&RPSDQ\DQGRURQEHKDOIRIVXFK&RPSDQ\DFWLQJDVDPHPEHUPDQDJLQJ
PHPEHURUJHQHUDOSDUWQHURIDQ\RWKHU&RPSDQ\WRILOHRUWRDXWKRUL]HWKH',3/HQGHUV RUDQ\$JHQW 
WR ILOH RU UHFRUG DQ\ PRUWJDJHV GHHGV RI WUXVW 8QLIRUP &RPPHUFLDO &RGH ³8&&´  ILQDQFLQJ
VWDWHPHQWVLQWHOOHFWXDOSURSHUW\ILOLQJVDVVLJQPHQWVIRUVHFXULW\RURWKHUGRFXPHQWVLQWKHQDPHRIVXFK
&RPSDQ\WKDWWKH',3/HQGHUV RUDQ\$JHQW GHHPQHFHVVDU\RUFRQYHQLHQWWRFUHDWHRUSHUIHFWDQ\OLHQ
RUVHFXULW\LQWHUHVWJUDQWHGXQGHUWKH)LQDQFLQJ'RFXPHQWVLQFOXGLQJDQ\VXFK8&&ILQDQFLQJVWDWHPHQW
FRQWDLQLQJ D JHQHULF GHVFULSWLRQ RI FROODWHUDO VXFK DV ³DOO DVVHWV´ ³DOO SURSHUW\ QRZ RU KHUHDIWHU
DFTXLUHG´ DQG RWKHU VLPLODU GHVFULSWLRQV RI OLNH LPSRUW DQG WR H[HFXWH DQG GHOLYHU DQG WR UHFRUG RU
DXWKRUL]HWKHUHFRUGLQJRIVXFKPRUWJDJHVDQGGHHGVRIWUXVWLQUHVSHFWRIUHDOSURSHUW\RIVXFK&RPSDQ\
DQGVXFKRWKHUILOLQJVLQUHVSHFWRILQWHOOHFWXDODQGRWKHUSURSHUW\RIVXFK&RPSDQ\LQHDFKFDVHDVWKH
',3/HQGHUV RUDQ\$JHQW PD\UHDVRQDEO\UHTXHVWWRSHUIHFWWKHVHFXULW\LQWHUHVWVRIWKH',3/HQGHUV
 RURIWKH$JHQW XQGHUWKH)LQDQFLQJ'RFXPHQWV

         5(62/9(' )857+(5WKDWZLWKUHVSHFWWRHDFK&RPSDQ\WKH$XWKRUL]HG3HUVRQVEHDQG
KHUHE\DUHDXWKRUL]HGGLUHFWHGDQGHPSRZHUHGLQWKHQDPHRIDQGRQEHKDOIRIVXFK&RPSDQ\GLUHFWO\
DV $XWKRUL]HG 3HUVRQV RI VXFK &RPSDQ\ DQGRU RQ EHKDOI RI VXFK &RPSDQ\ DFWLQJ DV D PHPEHU
PDQDJLQJPHPEHURUJHQHUDOSDUWQHURIDQ\RWKHU&RPSDQ\WRWDNHDOOVXFKIXUWKHUDFWLRQVLQFOXGLQJ
EXWQRWOLPLWHGWRSD\LQJRUDSSURYLQJWKHSD\PHQWRIDOOIHHVDQGH[SHQVHVSD\DEOHLQFRQQHFWLRQZLWK
WKH )LQDQFLQJ 7UDQVDFWLRQV DQG DOO IHHV DQG H[SHQVHV LQFXUUHG E\ RU RQ EHKDOI RI WKH &RPSDQ\ LQ
FRQQHFWLRQ ZLWK WKH IRUHJRLQJ UHVROXWLRQV LQ DFFRUGDQFH ZLWK WKH WHUPV RI WKH )LQDQFLQJ 'RFXPHQWV
ZKLFKVKDOOLQKLVKHUMXGJPHQWEHQHFHVVDU\SURSHURUDGYLVDEOHWRSHUIRUPWKH&RPSDQ\¶VREOLJDWLRQV
XQGHURULQFRQQHFWLRQZLWKWKH)LQDQFLQJ'RFXPHQWVRUDQ\RIWKH)LQDQFLQJ7UDQVDFWLRQVDQGWRIXOO\


                                                                                                                     
         Case 19-36314 Document 1 Filed in TXSB on 11/12/19 Page 14 of 28



FDUU\RXWWKHLQWHQWRIWKHIRUHJRLQJUHVROXWLRQVDQG

          5(62/9(' )857+(5WKDWZLWKUHVSHFWWRHDFK&RPSDQ\WKH$XWKRUL]HG3HUVRQVEHDQG
KHUHE\DUHDXWKRUL]HGGLUHFWHGDQGHPSRZHUHGLQWKHQDPHRIDQGRQEHKDOIRIVXFK&RPSDQ\GLUHFWO\
DV $XWKRUL]HG 3HUVRQV RI VXFK &RPSDQ\ DQGRU RQ EHKDOI RI VXFK &RPSDQ\ DFWLQJ DV D PHPEHU
PDQDJLQJ PHPEHU RU JHQHUDO SDUWQHU RI DQ\ RWKHU &RPSDQ\ WR H[HFXWH DQG GHOLYHU DQ\ DPHQGPHQWV
VXSSOHPHQWVPRGLILFDWLRQVUHQHZDOVUHSODFHPHQWVFRQVROLGDWLRQVVXEVWLWXWLRQVDQGH[WHQVLRQVRIDQ\
RI WKH )LQDQFLQJ 'RFXPHQWV RU WR GR VXFK RWKHU WKLQJV ZKLFK VKDOO LQ KLVKHU MXGJPHQW EH QHFHVVDU\
GHVLUDEOH SURSHU RU DGYLVDEOH WR JLYH HIIHFW WR WKH IRUHJRLQJ UHVROXWLRQV ZKLFK GHWHUPLQDWLRQ VKDOO EH
FRQFOXVLYHO\HYLGHQFHGE\KLVRUWKHLUH[HFXWLRQWKHUHRI

   6(&85,7,=$7,21)$&,/,7<
      
      :+(5($6ZLWKUHVSHFWWRHDFK&RPSDQ\WKH%RDUGKDVDSSURYHGDQGGLUHFWHGWKH&RPSDQ\
WR D HQWHULQWR E FRQWLQXHVHOOLQJFRQWULEXWLQJDQGRUVHUYLFLQJFHUWDLQWUDGHUHFHLYDEOHVDQG
UHODWHG LQWHUHVWV LQFOXGLQJ FROOHFWLRQV SURFHHGV DQG FHUWDLQ RWKHU LQWHUHVWV UHODWHG WKHUHWR WKH
³5HFHLYDEOHV´  LQ DFFRUGDQFH ZLWK WKH WHUPV RI YDULRXV DJUHHPHQWV H[HFXWHG E\ DQG DPRQJ
DPRQJ RWKHUV QRQ'HEWRUV 'DLU\ *URXS 5HFHLYDEOHV ,, /3  ³'DLU\ 5HFHLYDEOHV ,,´  DQG
'DLU\*URXS5HFHLYDEOHV/3 ³'DLU\5HFHLYDEOHV,´ WKH6HUYLFHUVWKH)LQDQFLDO,QVWLWXWLRQV
SDUW\ WKHUHWR WKH ³)LQDQFLDO ,QVWLWXWLRQV´  WKH &RPSDQLHV SDUW\ WKHUHWR WRJHWKHU ZLWK WKH
)LQDQFLDO ,QVWLWXWLRQV WKH ³3XUFKDVHUV´  31& %DQN 1DWLRQDO $VVRFLDWLRQ ³31& %DQN´  DV
LVVXHURI/HWWHUVRI&UHGLW LQVXFKFDSDFLW\WKH³/&%DQN´ DQGDV&R$JHQW LQVXFKFDSDFLW\
WKH ³&R$JHQW´  &R|SHUDWLHYH 5DEREDQN 8$ 1HZ <RUN %UDQFK ³5DEREDQN´  DV DJHQW IRU
WKH 3XUFKDVHUV LQ VXFK FDSDFLW\ DQG WRJHWKHU ZLWK LWV VXFFHVVRUV DQG DVVLJQV WKH ³$JHQW´ 
WKURXJK ZKLFK WKH 'HEWRUV KDYH DFFHVV WR D UHYROYLQJ FUHGLW IDFLOLW\ WKH ³6HFXULWL]DWLRQ
)DFLOLW\´  DQG F  RWKHUZLVH SHUIRUP XQGHU L  WKDW FHUWDLQ 6HFRQG $PHQGHG DQG 5HVWDWHG
5HFHLYDEOHV6DOH$JUHHPHQWGDWHGDVRI-XQH DVDPHQGHGDQGUHVWDWHGSXUVXDQWWRWKH
WKLUG DPHQGPHQW DQG UHVWDWHPHQW WKHUHWR GDWHG DV RI WKH &ORVLQJ 'DWH DQG DV PD\ EH IXUWKHU
DPHQGHGUHVWDWHGVXSSOHPHQWHGRURWKHUZLVHPRGLILHGIURPWLPHWRWLPHWKH³6XL]D56$´ E\
DQGDPRQJ WKH6XL]D2ULJLQDWRUVDQG'DLU\5HFHLYDEOHV,DV%X\HU LL WKDWFHUWDLQ$PHQGHG
DQG 5HVWDWHG 'DLU\ 5HFHLYDEOHV 6DOH $JUHHPHQW GDWHG DV RI -XQH   DV DPHQGHG DQG
UHVWDWHGSXUVXDQWWRWKHVHFRQGDPHQGPHQWDQGUHVWDWHPHQWWKHUHWRGDWHGDVRIWKH&ORVLQJ'DWH
DQG DV IXUWKHU DPHQGHG UHVWDWHG VXSSOHPHQWHG RU RWKHUZLVH PRGLILHG IURP WLPH WR WLPH DQG
WRJHWKHU ZLWK WKH 6XL]D 56$ WKH ³56$V´  E\ DQG DPRQJ WKH 'HDQ 2ULJLQDWRUV DQG 'DLU\
5HFHLYDEOHV ,, DV %X\HU DQG LLL  WKDW FHUWDLQ (LJKWK $PHQGHG DQG 5HVWDWHG 5HFHLYDEOHV
3XUFKDVH$JUHHPHQWGDWHGDVRI)HEUXDU\ DVDPHQGHGUHVWDWHGDQGVXSSOHPHQWHGRU
RWKHUZLVH PRGLILHG IURP WLPH WR WLPH SULRU WR WKH &ORVLQJ 'DWH WKH ³([LVWLQJ 53$´ DQG DV
DPHQGHGDQGUHVWDWHGSXUVXDQWWRWKHQLQWKDPHQGPHQWDQGUHVWDWHPHQWWKHUHWRGDWHGDVRIWKH
&ORVLQJ'DWHDQGDVIXUWKHUDPHQGHGUHVWDWHGVXSSOHPHQWHGRURWKHUZLVHPRGLILHGIURPWLPH
WRWLPHWKH³53$´DQGFROOHFWLYHO\ZLWKWKH56$VWKH³6HFXULWL]DWLRQ)LQDQFLQJ'RFXPHQWV´ 
DPRQJ 'DLU\ 5HFHLYDEOHV , DQG 'DLU\ 5HFHLYDEOHV ,, DV 6HOOHUV WKH 6HUYLFHUV WKH )LQDQFLDO
,QVWLWXWLRQVWKH7HUPLQDWLQJ)LQDQFLDO,QVWLWXWLRQVDQG&RPSDQLHVWKH&RPSDQLHVWKH/&%DQN
WKH &R$JHQW DQG WKH $JHQW VXFK 5HFHLYDEOHV VROG RU FRQWULEXWHG WR 'DLU\ 5HFHLYDEOHV , DQG
'DLU\5HFHLYDEOHV,,ZKHWKHUEHIRUHRUDIWHUWKH3HWLWLRQ'DWH DVGHILQHGEHORZ EHLQJUHIHUUHG
WRKHUHLQDV³7UDQVIHUUHG5HFHLYDEOHV´ 

     :+(5($6ZLWKUHVSHFWWRHDFK&RPSDQ\WKH%RDUGKDVGHWHUPLQHGWKDW L WKH&RPSDQ\
ZLOOUHFHLYHGLUHFWDQGLQGLUHFWHFRQRPLFEHQHILWVIURPWKH6HFXULWL]DWLRQ)DFLOLW\ LL LWLVLQWKH


                                                                                                                      
         Case 19-36314 Document 1 Filed in TXSB on 11/12/19 Page 15 of 28



EHVW LQWHUHVW RI WKH &RPSDQ\ WR HQWHU LQWR WKH 6HFXULWL]DWLRQ )DFLOLW\ DQG WKH 6HFXULWL]DWLRQ
)LQDQFLQJ 'RFXPHQWV WR ZKLFK LW LV SDUW\ DQG LLL  LW LV LQ WKH EHVW LQWHUHVW RI WKH &RPSDQ\ WR
DXWKRUL]H LWV $XWKRUL]HG 3HUVRQV WR WDNH DQ\ DQG DOO DFWLRQV DV WKH\ PD\ GHHP DSSURSULDWH WR
HIIHFWXDWH WKH WUDQVDFWLRQV FRQWHPSODWHG E\ WKH 6HFXULWL]DWLRQ )DFLOLW\ DQG WKH 6HFXULWL]DWLRQ
)LQDQFLQJ'RFXPHQWVWRZKLFKLWLVDSDUW\

     5(62/9('WKDWHDFK&RPSDQ\EHDQGLWKHUHE\LVDXWKRUL]HGGLUHFWHGDQGHPSRZHUHG
WR [  HQWHU LQWR FRQWLQXH VHOOLQJ FRQWULEXWLQJ DQGRU VHUYLFLQJ DV WKH FDVH PD\ EH WKH
5HFHLYDEOHV LQ DFFRUGDQFH ZLWK WKH WHUPV RI DQG RWKHUZLVH SHUIRUP XQGHU HDFK RI WKH
6HFXULWL]DWLRQ )LQDQFLQJ 'RFXPHQWV WR ZKLFK LW LV D SDUW\ DQG \  HQWHU LQWR DQG RWKHUZLVH
SHUIRUPRUFRQWLQXHWRSHUIRUPXQGHUHDFKRIWKHRWKHU6HFXULWL]DWLRQ)LQDQFLQJ'RFXPHQWVWR
ZKLFKLWLVDSDUW\

     )857+(55(62/9('WKDWZLWKUHVSHFWWRHDFK&RPSDQ\WKH$XWKRUL]HG3HUVRQVEH
DQG KHUHE\ DUH DXWKRUL]HG GLUHFWHG DQG HPSRZHUHG WR QHJRWLDWH H[HFXWH DQG GHOLYHU LQ WKH
QDPHDQGRQEHKDOIRIWKH&RPSDQ\HDFKRIWKH6HFXULWL]DWLRQ)LQDQFLQJ'RFXPHQWVWRZKLFK
WKH&RPSDQ\LVDSDUW\DQGDQ\RWKHUIXUWKHUGRFXPHQWDWLRQUHTXLUHGRUFRQWHPSODWHGWKHUHXQGHU
LQ WKH IRUP DQG XSRQ WKH WHUPV DQG FRQGLWLRQV DV DQ\ $XWKRUL]HG 3HUVRQ PD\ DSSURYH VXFK
DSSURYDO WR EH FRQFOXVLYHO\ HVWDEOLVKHG E\ VXFK $XWKRUL]HG 3HUVRQ¶V H[HFXWLRQ DQG GHOLYHU\
WKHUHRI DQGWRSHUIRUPWKH&RPSDQ\¶VREOLJDWLRQVWKHUHXQGHULQFOXGLQJWKHIHHVDQGH[SHQVHV
UHODWHG WKHUHWR DQG WR WDNH DOO DFWLRQV LQ DFFRUGDQFH WKHUHZLWK WKDW DQ\ RI WKHP PD\ GHHP
QHFHVVDU\RUDGYLVDEOHWRFRQVXPPDWHWKHWUDQVDFWLRQVFRQWHPSODWHGWKHUHE\DQGWKHDFWLRQVRI
VXFK$XWKRUL]HG3HUVRQLQQHJRWLDWLQJWKHWHUPVRIDQGLQH[HFXWLQJDQGGHOLYHULQJHDFKRIWKH
6HFXULWL]DWLRQ)LQDQFLQJ'RFXPHQWVWRZKLFKLWLVDSDUW\DQGDQ\RWKHUIXUWKHUGRFXPHQWDWLRQ
UHTXLUHG RU FRQWHPSODWHG WKHUHXQGHU DQG DQ\ RWKHU DFWLRQ WDNHQ LQ FRQQHFWLRQ WKHUHZLWK RQ
EHKDOIRIWKH&RPSDQ\EHDQGWKHVDPHKHUHE\DUHUDWLILHGFRQILUPHGDSSURYHGDQGDGRSWHG

     )857+(55(62/9('WKDWZLWKUHVSHFWWRHDFK&RPSDQ\WKH$XWKRUL]HG3HUVRQVEH
DQG KHUHE\ DUH DXWKRUL]HG GLUHFWHG DQG HPSRZHUHG LQ WKH QDPH RI DQG RQ EHKDOI RI WKH
&RPSDQ\ WR H[HFXWH DQG GHOLYHU DQ\ IXUWKHU DPHQGPHQW DPHQGPHQW DQG UHVWDWHPHQW RU RWKHU
PRGLILFDWLRQ WR WKH 6HFXULWL]DWLRQ )DFLOLW\ RU DQ\ RI WKH RWKHU 6HFXULWL]DWLRQ )LQDQFLQJ
'RFXPHQWVLQHDFKFDVHWRZKLFKWKH&RPSDQ\LVDSDUW\ HDFKD³)XUWKHU$PHQGPHQW´ VXFK
DSSURYDOWREHFRQFOXVLYHO\HYLGHQFHGE\WKHH[HFXWLRQDQGGHOLYHU\WKHUHRI

     )857+(55(62/9('WKDWZLWKUHVSHFWWRHDFK&RPSDQ\WKH$XWKRUL]HG3HUVRQVEH
DQGKHUHE\DUHDXWKRUL]HGGLUHFWHGDQGHPSRZHUHGLQWKHQDPHDQGRQEHKDOIRIWKH&RPSDQ\
WRH[HFXWHDQGGHOLYHUDQ\RIILFHU¶VVHFUHWDU\¶VRUVLPLODUFHUWLILFDWHRQEHKDOIRIWKH&RPSDQ\
LQ FRQQHFWLRQ ZLWK WKH 6HFXULWL]DWLRQ )DFLOLW\ RU DQ\ RI WKH RWKHU 6HFXULWL]DWLRQ )LQDQFLQJ
'RFXPHQWV RU DQ\ )XUWKHU $PHQGPHQW DQG WKH WUDQVDFWLRQV FRQWHPSODWHG WKHUHLQ ZLWK VXFK
FKDQJHV DV VXFK $XWKRUL]HG 3HUVRQV H[HFXWLQJ WKH VDPH PD\ DSSURYH VXFK DSSURYDO WR EH
FRQFOXVLYHO\HYLGHQFHGE\WKHH[HFXWLRQDQGGHOLYHU\KHUHRI
     
  327(17,$/6$/(75$16$&7,216
     
        5(62/9(' WKDW ZLWK UHVSHFW WR HDFK &RPSDQ\ WKH $XWKRUL]HG 3HUVRQV EH DQG KHUHE\ DUH
DXWKRUL]HG GLUHFWHG DQG HPSRZHUHG LQ WKH QDPH RI DQG RQ EHKDOI RI VXFK &RPSDQ\ GLUHFWO\ DV
$XWKRUL]HG 3HUVRQV RI VXFK &RPSDQ\ DQGRU RQ EHKDOI RI DQ\ VXFK &RPSDQ\ DFWLQJ DV D PHPEHU



                                                                                                               
         Case 19-36314 Document 1 Filed in TXSB on 11/12/19 Page 16 of 28



PDQDJLQJPHPEHURUJHQHUDOSDUWQHURIDQ\RWKHU&RPSDQ\WRILOHDPRWLRQZLWKWKH%DQNUXSWF\&RXUW
 L VHHNLQJ DSSURYDO RI ELGGLQJ SURFHGXUHV WR IDFLOLWDWH D SRWHQWLDO VDOH RI DOO VXEVWDQWLDOO\ DOO RU D
PDWHULDOSRUWLRQRIWKH&RPSDQ\¶VDVVHWVSXUVXDQWWRVHFWLRQRIWKH%DQNUXSWF\&RGH WKH³3RWHQWLDO
6DOH7UDQVDFWLRQV´  LL VHHNLQJDSSURYDORIDVWDONLQJKRUVHSXUFKDVHU WKH³6WDONLQJ+RUVH3XUFKDVHU´ 
IRU D 3RWHQWLDO 6DOH 7UDQVDFWLRQ DQG LLL VHHNLQJ DSSURYDO RI WKH SD\PHQW RI FHUWDLQ IHHV LQFOXGLQJ
H[SHQVHUHLPEXUVHPHQWDQGEUHDNXSIHHV WRWKH6WDONLQJ+RUVH3XUFKDVHUDOOVXEVWDQWLDOO\LQDFFRUGDQFH
ZLWK DQ\ VXPPDU\ SUHVHQWHG WR WKH %RDUG VXEMHFW WR VXFK PRGLILFDWLRQV WKHUHWR DV WKH $XWKRUL]HG
3HUVRQVGHHPQHFHVVDU\RUDGYLVDEOHLQRUGHUWRJLYHHIIHFWWRDQGFDUU\RXWWKHJHQHUDOSXUSRVHVRIWKH
3RWHQWLDO6DOH7UDQVDFWLRQVDVSUHVHQWHGWRWKH%RDUGDQG

        5(62/9(')857+(5WKDWZLWKUHVSHFWWRHDFK&RPSDQ\WKH$XWKRUL]HG3HUVRQVEHDQG
KHUHE\DUHDXWKRUL]HGGLUHFWHGDQGHPSRZHUHGLQWKHQDPHRIDQGRQEHKDOIRIWKH&RPSDQLHVGLUHFWO\
DV $XWKRUL]HG 3HUVRQV RI VXFK &RPSDQLHV DQGRU RQ EHKDOI RI DQ\ &RPSDQ\ DFWLQJ DV D PHPEHU
PDQDJLQJ PHPEHU RU JHQHUDO SDUWQHU RI DQ\ RWKHU &RPSDQ\ WR FRQGXFW D IXUWKHU PDUNHWLQJ SURFHVV WR
LGHQWLI\3RWHQWLDO6DOH7UDQVDFWLRQVZLWKWKHDVVLVWDQFHRIWKH&RPSDQLHV¶LQYHVWPHQWEDQNHUDQGRWKHU
SURIHVVLRQDODGYLVRUVDQGXQGHUWKHVXSHUYLVLRQRIWKH%DQNUXSWF\&RXUWDQG

         5(62/9(' )857+(5WKDWWKH$XWKRUL]HG3HUVRQVEHDQGKHUHE\DUHDXWKRUL]HGGLUHFWHG
DQGHPSRZHUHGLQWKHQDPHRIDQGRQEHKDOIRIVXFK&RPSDQ\GLUHFWO\DV$XWKRUL]HG3HUVRQVRIVXFK
&RPSDQ\ DQGRU RQ EHKDOI RI DQ\ VXFK &RPSDQ\ DFWLQJ DV D PHPEHU PDQDJLQJ PHPEHU RU JHQHUDO
SDUWQHURIDQ\RWKHU&RPSDQ\WR L WDNHDFWLRQVDQGQHJRWLDWHDQGVXEMHFWWR%DQNUXSWF\&RXUWDSSURYDO
DV UHTXLUHG WR H[HFXWH GHOLYHU SHUIRUP DQG FDXVH WKH SHUIRUPDQFH RI DQ\ DJUHHPHQWV LQFOXGLQJ DVVHW
SXUFKDVHDJUHHPHQWV FHUWLILFDWHVLQVWUXPHQWVUHFHLSWVSHWLWLRQVPRWLRQVRURWKHUSDSHUVRUGRFXPHQWV
LQIXUWKHUDQFHRIDQGQHFHVVDU\WRHIIHFWXDWHDQ\3RWHQWLDO6DOH7UDQVDFWLRQVWRZKLFKWKH&RPSDQLHVDUH
RU PD\ EHFRPH SDUW\ DQG LL  UHTXHVW WKH %DQNUXSWF\ &RXUW WR DSSURYH DQ\ 3RWHQWLDO 6DOH 7UDQVDFWLRQ
 LQFOXGLQJDVDOHRIWKH&RPSDQLHV¶DVVHWVWRWKHKLJKHVWRUEHVWELGGHU DQGIRUDQ\UHODWHGUHOLHI

     $0(1'0(1772*29(51,1*'2&80(176

         5(62/9('WKDWWRWKHH[WHQWWKDWDQ\DFWLRQVDXWKRUL]HGE\WKHVHUHVROXWLRQVZRXOGUHVXOWLQ
DQ\&RPSDQ\WKDWVHUYHVDVDPHPEHURIDQ\RWKHU&RPSDQ\WKDWLVDOLPLWHGOLDELOLW\FRPSDQ\WRFHDVH
WREHDPHPEHURIVXFKRWKHU&RPSDQ\XQGHUDSSOLFDEOHODZWKHOLPLWHGOLDELOLW\FRPSDQ\DJUHHPHQWRI
VXFKRWKHU&RPSDQ\LVKHUHE\DPHQGHGWRSURYLGHWKDWWKHILOLQJRIDYROXQWDU\SHWLWLRQLQEDQNUXSWF\
DQG WKH RWKHU DFWLRQV DXWKRUL]HG XQGHU WKHVH UHVROXWLRQV VKDOO QRW FDXVH VXFK PHPEHU WR FHDVH WR EH D
PHPEHU RI VXFK RWKHU &RPSDQ\ DQG LQ DQ\ VXFK HYHQW VXFK RWKHU &RPSDQ\ VKDOO FRQWLQXH ZLWKRXW
GLVVROXWLRQDQG

         5(62/9(' )857+(5 WKDW WR WKH H[WHQW WKDW DQ\ DFWLRQV DXWKRUL]HG E\ WKHVH UHVROXWLRQV
ZRXOG UHVXOW LQ DQ\ &RPSDQ\ WKDW VHUYHV DV D JHQHUDO SDUWQHU RI DQ\ RWKHU &RPSDQ\ WKDW LV D OLPLWHG
SDUWQHUVKLS WR FHDVH WR EH D JHQHUDO SDUWQHU RI VXFK RWKHU &RPSDQ\ XQGHU DSSOLFDEOH ODZ WKH OLPLWHG
SDUWQHUVKLSDJUHHPHQWRIVXFKRWKHU&RPSDQ\LVKHUHE\DPHQGHGWRSURYLGHWKDWWKHILOLQJRIDYROXQWDU\
SHWLWLRQ LQ EDQNUXSWF\ DQG WKH RWKHU DFWLRQV DXWKRUL]HG XQGHU WKHVH UHVROXWLRQV VKDOO QRW FDXVH VXFK
JHQHUDOSDUWQHUWRFHDVHWREHDJHQHUDOSDUWQHURIVXFKRWKHU&RPSDQ\DQGLQDQ\VXFKHYHQWVXFKRWKHU
&RPSDQ\ VKDOO FRQWLQXH ZLWKRXW GLVVROXWLRQ DQG HDFK &RPSDQ\ WKDW LV D OLPLWHG SDUWQHU RI DQRWKHU
&RPSDQ\KHUHE\FRQVHQWVWRWKHIRUHJRLQJDPHQGPHQW

     *(1(5$/$87+25,=,1*5(62/87,216)857+(5$&7,216$1'35,25
        $&7,216

       5(62/9(' WKDW ZLWKRXW OLPLWLQJ WKH JHQHUDOLW\ RI DQ\ IRUHJRLQJ UHVROXWLRQV HDFK RI WKH
$XWKRUL]HG3HUVRQVEHDQGKHUHE\DUHDXWKRUL]HGGLUHFWHGDQGHPSRZHUHGLQWKHQDPHRIDQGRQEHKDOI



                                                                                                                       
         Case 19-36314 Document 1 Filed in TXSB on 11/12/19 Page 17 of 28



RIHDFK&RPSDQ\GLUHFWO\DV$XWKRUL]HG3HUVRQVRIVXFK&RPSDQ\DQGRURQEHKDOIRIDQ\&RPSDQ\
DFWLQJ DV D PHPEHU PDQDJLQJ PHPEHU RU JHQHUDO SDUWQHU RI DQ\ RWKHU &RPSDQ\ WR SHUIRUP WKH
REOLJDWLRQVRIWKH&RPSDQ\XQGHUWKH%DQNUXSWF\&RGHDQGH[HUFLVHDOOULJKWVRIWKH&RPSDQ\XQGHUWKH
%DQNUXSWF\&RGHLQFOXGLQJEXWQRWOLPLWHGWRDOOULJKWVZLWKUHVSHFWWRFRQWUDFWVDJUHHPHQWVDQGOHDVHV
XQGHU VHFWLRQV  DQG  RI WKH %DQNUXSWF\ &RGH ZLWK DOO VXFK DFWLRQV WR EH SHUIRUPHG LQ VXFK
PDQQHU DQG DOO VXFK FHUWLILFDWHV LQVWUXPHQWV JXDUDQWHHV QRWLFHV DQG GRFXPHQWV WR EH H[HFXWHG DQG
GHOLYHUHGLQVXFKIRUPDVHDFK$XWKRUL]HG3HUVRQSHUIRUPLQJRUH[HFXWLQJWKHVDPHVKDOODSSURYHDQG
WKH SHUIRUPDQFH RU H[HFXWLRQ WKHUHRI E\ VXFK $XWKRUL]HG 3HUVRQ VKDOO EH FRQFOXVLYH HYLGHQFH RI WKH
DSSURYDOWKHUHRIE\VXFK$XWKRUL]HG3HUVRQDQGE\WKH&RPSDQLHV

         5(62/9(')857+(5WKDWZLWKRXWOLPLWLQJWKHJHQHUDOLW\RIDQ\IRUHJRLQJUHVROXWLRQHDFK
RIWKH$XWKRUL]HG3HUVRQVEHDQGKHUHE\DUHDXWKRUL]HGGLUHFWHGDQGHPSRZHUHGLQWKHQDPHRIDQGRQ
EHKDOI RI HDFK &RPSDQ\ GLUHFWO\ DV $XWKRUL]HG 3HUVRQV RI VXFK &RPSDQ\ DQGRU RQ EHKDOI RI DQ\
&RPSDQ\ DFWLQJ DV D PHPEHU PDQDJLQJ PHPEHU RU JHQHUDO SDUWQHU RI DQ\ RWKHU &RPSDQ\ WR WDNH RU
FDXVHWREHWDNHQDQ\DQGDOOVXFKIXUWKHUDFWLRQDQGWRH[HFXWHDFNQRZOHGJHGHOLYHUDQGILOHDQ\DQG
DOO VXFK LQVWUXPHQWV DQG GRFXPHQWV DQG WR SD\ VXFK IHHV DQG H[SHQVHV DV HDFK LQ KLVKHU MXGJPHQW
GHHPQHFHVVDU\DSSURSULDWHRUDGYLVDEOHLQRUGHUWRFDUU\RXWWKHSXUSRVHDQGLQWHQWRIWKHVHUHVROXWLRQV

         5(62/9(')857+(5WKDWZLWKRXWOLPLWLQJWKHJHQHUDOLW\RIDQ\IRUHJRLQJUHVROXWLRQHDFK
$XWKRUL]HG 3HUVRQ DFWLQJ DORQH RU ZLWK RQH RU PRUH RWKHU $XWKRUL]HG 3HUVRQV EH DQG KHUHE\ LV
DXWKRUL]HG WR WDNH DQ\ DQG DOO DFWLRQV QHFHVVDU\ GHVLUDEOH DGYLVDEOH RU DSSURSULDWH WR FRQVXPPDWH
HIIHFWXDWH FDUU\ RXW RU IXUWKHU WKH WUDQVDFWLRQV FRQWHPSODWHG E\ DQG WKH LQWHQW DQG SXUSRVHV RI WKHVH
UHVROXWLRQVGLUHFWO\RQEHKDOIRIHDFK&RPSDQ\DVDQ$XWKRUL]HG3HUVRQDQGIXUWKHUWRWKHH[WHQWDQ\
&RPSDQ\ VHUYHV DV D PHPEHU PDQDJHU JHQHUDO SDUWQHU RU RWKHU JRYHUQLQJ ERG\ HDFK D ³&RQWUROOLQJ
&RPSDQ\´ RIDQ\RWKHU&RPSDQ\ HDFKD³&RQWUROOHG&RPSDQ\´ HDFK$XWKRUL]HG3HUVRQDFWLQJDORQH
RUZLWKRQHRUPRUHRWKHU$XWKRUL]HG3HUVRQVEHDQGKHUHE\LVDOVRDXWKRUL]HGHPSRZHUHGDQGGLUHFWHG
LQWKHQDPHDQGRQEHKDOIRIHDFK&RQWUROOLQJ&RPSDQ\WRFDXVHVXFK&RQWUROOLQJ&RPSDQ\WRDXWKRUL]H
DQGGLUHFWHDFKDSSOLFDEOH&RQWUROOHG&RPSDQ\WRWDNHDQ\DQGDOODFWLRQVQHFHVVDU\GHVLUDEOHDGYLVDEOH
RU DSSURSULDWH WR FRQVXPPDWH HIIHFWXDWH FDUU\ RXW RU IXUWKHUWKH WUDQVDFWLRQV FRQWHPSODWHG E\ DQG WKH
LQWHQWDQGSXUSRVHVRIWKHWKHVHUHVROXWLRQV LQFOXGLQJWKHH[HFXWLRQDQGGHOLYHU\RIWKHVHUHVROXWLRQVDV
DSSOLFDEOH 

        5(62/9(')857+(5WKDWWKH%RDUGRIHDFK&RPSDQ\KDVUHFHLYHGVXIILFLHQWQRWLFHRIWKH
DFWLRQVDQGWUDQVDFWLRQVUHODWLQJWRWKHPDWWHUVFRQWHPSODWHGE\WKHVHUHVROXWLRQVDVPD\EHUHTXLUHGE\
WKHRUJDQL]DWLRQDOGRFXPHQWVRIWKH&RPSDQ\RUKHUHE\ZDLYHVDQ\ULJKWWRKDYHUHFHLYHGVXFKQRWLFH
DQG

        5(62/9(' )857+(5 WKDW DOO DFWV DQG DFWLRQV UHODWLQJ WR WKH PDWWHUV FRQWHPSODWHG E\ WKH
IRUHJRLQJUHVROXWLRQVGRQHLQWKHQDPHRIDQGRQEHKDOIRIHDFKRIWKH&RPSDQLHVZKLFKDFWVRUDFWLRQV
ZRXOGKDYHEHHQDSSURYHGE\WKHIRUHJRLQJUHVROXWLRQVLIVXFKDFWVRUDFWLRQVKDGWDNHQSODFHDIWHUWKH
H[HFXWLRQRIWKHVHUHVROXWLRQVEHDQGKHUHE\DUHFRQILUPHGDSSURYHGDQGUDWLILHGDVWKHDFWVRUDFWLRQV
RIHDFKRIWKH&RPSDQLHV

                                                        





                                                                                                                    
    Case 19-36314 Document 1 Filed in TXSB on 11/12/19 Page 18 of 28




                                    $11(;$
                                         
                     &RPSDQ\                  6WDWHRI,QFRUSRUDWLRQ
                         
        $OWD'HQD&HUWLILHG'DLU\//&              'HODZDUH
        %HUNHOH\)DUPV//&                         &DOLIRUQLD
        &DVFDGH(TXLW\5HDOW\//&                  'HODZDUH
        &RXQWU\)UHVK//&                          0LFKLJDQ
        'DLU\,QIRUPDWLRQ6\VWHPV                   'HODZDUH
        +ROGLQJV//&
        'DLU\,QIRUPDWLRQ6\VWHPV//&              'HODZDUH
        'HDQ'DLU\+ROGLQJV//&                    'HODZDUH
        'HDQ(DVW,,//&                           'HODZDUH
        'HDQ(DVW//&                              'HODZDUH
        'HDQ)RRGV&RPSDQ\                          'HODZDUH
        'HDQ)RRGV1RUWK&HQWUDO//&               'HODZDUH
        'HDQ)RRGVRI:LVFRQVLQ//&                'HODZDUH
        'HDQ+ROGLQJ&RPSDQ\                        :LVFRQVLQ
        'HDQ,QWHOOHFWXDO3URSHUW\6HUYLFHV         'HODZDUH
        ,,,QF
        'HDQ,QWHUQDWLRQDO+ROGLQJ                  'HODZDUH
        &RPSDQ\
        'HDQ0DQDJHPHQW//&                        'HODZDUH
        'HDQ3XHUWR5LFR+ROGLQJV//&              'HODZDUH
        'HDQ6HUYLFHV//&                          'HODZDUH
        'HDQ7UDQVSRUWDWLRQ,QF                    2KLR
        'HDQ:HVW,,//&                           'HODZDUH
        'HDQ:HVW//&                              'HODZDUH
        ')&$YLDWLRQ6HUYLFHV//&                  'HODZDUH
        ')&(QHUJ\3DUWQHUV//&                    'HODZDUH
        ')&9HQWXUHV//&                           'HODZDUH
        '*,9HQWXUHV,QF                          'HODZDUH
        ',36/LPLWHG3DUWQHU,,                     'HODZDUH
        )UDQNOLQ+ROGLQJV,QF                     'HODZDUH
        )UHVK'DLU\'HOLYHU\//&                   'HODZDUH
        )ULHQGO\¶V,FH&UHDP+ROGLQJV               'HODZDUH
        &RUS
        )ULHQGO\¶V0DQXIDFWXULQJDQG                'HODZDUH
        5HWDLO//&
        *DUHOLFN)DUPV//&                         'HODZDUH
        0D\ILHOG'DLU\)DUPV//&                   'HODZDUH
        0LGZHVW,FH&UHDP&RPSDQ\//&              'HODZDUH



                                                                        
    Case 19-36314 Document 1 Filed in TXSB on 11/12/19 Page 19 of 28



        0RGHO'DLU\//&                      'HODZDUH
        5HLWHU'DLU\//&                     'HODZDUH
        6DPSVRQ9HQWXUHV//&                 'HODZDUH
        6KHQDQGRDK¶V3ULGH//&               'HODZDUH
        6RXWKHUQ)RRGV*URXS//&             'HODZDUH
        6WHYH¶V,FH&UHDP//&                'HODZDUH
        6XL]D'DLU\*URXS//&                'HODZDUH
        7XVFDQ/HKLJK'DLULHV,QF           'HODZDUH
        8QFOH0DWW¶V2UJDQLF,QF            'HODZDUH
        9HULILQH'DLU\3URGXFWVRI            :LVFRQVLQ
        6KHER\JDQ//&
                                       






                                                                      
                      Case 19-36314 Document 1 Filed in TXSB on 11/12/19 Page 20 of 28
Fill in this information to identify the case and this filing:


               Dean Foods Company
Debtor Name __________________________________________________________________
                                         Southern
United States Bankruptcy Court for the: ______________________             Texas
                                                               District of __________
                                                                           (State)
Case number (If known):   _________________________




                               Attachment to Voluntary Petition for Non-Individuals Filing for
                                              Bankruptcy under Chapter 11

              1. If any of the debtor=s securities are registered under Section 12 of the Securities Exchange Act of
          1934, the SEC file number is _______________.
                                         0000931336


                2. The following financial data is the latest available information and refers to the debtor=s condition on
          ______________.
          9/30/2019

                 a. Total assets                                                              $ 2,285,675,789.73

                 b. Total debts (including debts listed in 2.c., below)                       $   2,177,483,295.91

                 c. Debt securities held by more than 500 holders
                                                                                                                               Approximate
                                                                                                                               number of
                                                                                                                               holders:

                 secured       G   unsecured    G     subordinated       G     $
                 secured       G   unsecured    G     subordinated       G     $
                 secured       G   unsecured    G     subordinated       G     $
                 secured       G   unsecured    G     subordinated       G     $
                 secured       G   unsecured    G     subordinated       G     $

                 d. Number of shares of preferred stock
                 e. Number of shares common stock                                                                               91,894,000


                 Comments, if any:



                 3. Brief description of debtor=s business:           Public food and beverage company




              4. List the names of any person who directly or indirectly owns, controls, or holds, with power to vote,
          5% or more of the voting securities of debtor:
          BlackRock Fund Advisors; Dimensional Fund Advisors LP; Morgan Stanley & Co. LLC; The Vanguard Group, Inc.




          Official Form 201A                Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
             Case 19-36314 Document 1 Filed in TXSB on 11/12/19 Page 21 of 28



                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                           §
    In re:                                                 §            Chapter 11
                                                           §
    SOUTHERN FOODS GROUP, LLC, et al., 1                   §            Case No. ______________
                                                           §
                     Debtors.                              §            (Joint Administration Pending)
                                                           §
                                                           §

                    CONSOLIDATED CORPORATE OWNERSHIP STATEMENT

             Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,

attached hereto as Exhibit A is an organizational list reflecting all of the ownership interests in

Southern Foods Group, LLC, its indirect parent, Dean Foods Company, and their debtor affiliates,

as debtors and debtors in possession (collectively, the “Debtors”).

             The Debtors note the following –

                x   Each of the Debtors identified on Exhibit A is 100% owned by its direct parent
                    unless otherwise noted.

                x   Dean Foods Company is the ultimate parent of the Debtors, and its equity securities
                    are publicly held. BlackRock Fund Advisors is the only entity that owns 10% or
                    more of the common stock of Dean Foods Company.


1
  The debtors and debtors in possession in these chapter 11 cases, along with the last four digits of their respective
Employer Identification Numbers, are as follows: Southern Foods Group, LLC (1364); Dean Foods Company (9681);
Alta-Dena Certified Dairy, LLC (1347); Berkeley Farms, LLC (8965); Cascade Equity Realty, LLC (3940); Country
Fresh, LLC (6303); Dairy Information Systems Holdings, LLC (9144); Dairy Information Systems, LLC (0009); Dean
Dairy Holdings, LLC (9188); Dean East II, LLC (9192); Dean East, LLC (8751); Dean Foods North Central, LLC
(7858); Dean Foods of Wisconsin, LLC (2504); Dean Holding Company (8390); Dean Intellectual Property Services
II, Inc. (3512); Dean International Holding Company (9785); Dean Management, LLC (7782); Dean Puerto Rico
Holdings, LLC (6832); Dean Services, LLC (2168); Dean Transportation, Inc. (8896); Dean West II, LLC (9190);
Dean West, LLC (8753); DFC Aviation Services, LLC (1600); DFC Energy Partners, LLC (3889); DFC Ventures,
LLC (4213); DGI Ventures, Inc. (6766); DIPS Limited Partner II (7167); Franklin Holdings, Inc. (8114); Fresh Dairy
Delivery, LLC (2314); Friendly’s Ice Cream Holdings Corp. (7609); Friendly’s Manufacturing and Retail, LLC
(9828); Garelick Farms, LLC (3221); Mayfield Dairy Farms, LLC (3008); Midwest Ice Cream Company, LLC (0130);
Model Dairy, LLC (7981); Reiter Dairy, LLC (3675); Sampson Ventures, LLC (7714); Shenandoah’s Pride, LLC
(2858); Steve’s Ice Cream, LLC (6807); Suiza Dairy Group, LLC (2039); Tuscan/Lehigh Dairies, Inc. (6774); Uncle
Matt’s Organic, Inc. (0079); and Verifine Dairy Products of Sheboygan, LLC (7200). The debtors’ mailing address is
2711 North Haskell Avenue, Suite 3400, Dallas, TX 75204.
       Case 19-36314 Document 1 Filed in TXSB on 11/12/19 Page 22 of 28



                                       EXHIBIT A

Each of the Debtors identified below is 100% owned by Dean Foods Company:
   Friendly’s Ice Cream Holdings Corp.
   Steve’s Ice Cream, LLC
   Suiza Dairy Group, LLC
   DFC Ventures, LLC
   DGI Ventures, Inc.
   DFC Energy Partners, LLC
   Dean Management, LLC
   Franklin Holdings, Inc.
   Dean Puerto Rico Holdings, LLC
   Dean International Holding Company
   Dean Holding Company

The Debtor identified below is 100% owned by Friendly’s Ice Cream Holdings Corp.:
   Friendly’s Manufacturing and Retail, LLC

Each of the Debtors identified below is 100% owned by Suiza Dairy Group:
   Dean East, LLC
   Dean Foods of Wisconsin, LLC
   Dean West, LLC
   Cascade Equity Realty, LLC
   Dairy Information Systems Holdings, LLC
   Sampson Ventures, LLC

Each of the Debtors identified below is 100% owned by Dean East, LLC:
   Country Fresh, LLC
   Garelick Farms, LLC

Each of the Debtors identified below is 100% owned by Garelick Farms, LLC:
   Tuscan/Lehigh Dairies, Inc.
   Shenandoah’s Pride, LLC

Each of the Debtors identified below is 100% owned by Dean West, LLC:
   Model Dairy, LLC
   Southern Foods Group, LLC

The Debtor identified below is 100% owned by Dairy Information Systems Holdings, LLC:
   Dairy Information Systems, LLC

The Debtor identified below is 100% owned by DFC Ventures, LLC:
   Uncle Matt’s Organic, Inc.

Each of the Debtors identified below is 100% owned by Dean Management:
   DFC Aviation Services, LLC
   Dean Services, LLC
       Case 19-36314 Document 1 Filed in TXSB on 11/12/19 Page 23 of 28



Each of the Debtors identified below is 100% owned by Dean Holding Company:
   Dean Dairy Holdings, LLC
   DIPS Limited Partner II

Each of the Debtors identified below is 100% owned by Dean Dairy Holdings, LLC:
   Dean East II, LLC
   Dean Transportation, Inc.
   Dean West II, LLC

Each of the Debtors identified below is 100% owned by Dean East II, LLC:
   Dean Foods North Central, LLC
   Mayfield Dairy Farms, LLC
   Midwest Ice Cream Company, LLC
   Reiter Dairy, LLC
   Verifine Dairy Products of Sheboygan, LLC

The Debtor identified below is 100% owned by Dean Transportation, Inc.:
   Fresh Dairy Delivery, LLC

Each of the Debtors identified below is 100% owned by Dean West II, LLC:
   Alta-Dena Certified Dairy, LLC
   Berkeley Farms, LLC

The Debtor identified below is 100% owned by DIPS Limited Partner II:
   Dean Intellectual Property Services II, Inc.
             Case 19-36314 Document 1 Filed in TXSB on 11/12/19 Page 24 of 28



                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

                                                        §
    In re:                                              §             Chapter 11
                                                        §
    DEAN FOODS COMPANY,                                 §             Case No. ______________
                                                        §
                    Debtor.                             §
                                                        §
                                                        §


                              LIST OF EQUITY SECURITY HOLDERS 1


             Equity Holder         Address of Equity Holder                Percentage of Equity Held

                                   40 E. 52nd Street
    BlackRock Fund Advisors                                                            14.45%
                                   New York, NY 10022
                                   Dimensional Place
    Dimensional Fund               6300 Bee Cave Road,
                                                                                       8.10%
    Advisors LP                    Building One
                                   Austin, TX 78746
    Morgan Stanley & Co.           1585 Broadway Avenue
                                                                                       7.86%
    LLC                            New York, NY 10036
                                   455 Devon Park Drive
    The Vanguard Group, Inc.                                                           6.62%
                                   Wayne, PA 19087-1815




1
 This list reflects holders of five percent or more of Dean Foods Company’s common stock as of October 23, 2019.
This list serves as the disclosure required to be made by the Debtor pursuant to Rule 1007 of the Federal Rules of
Bankruptcy Procedure.
                                           Case 19-36314 Document 1 Filed in TXSB on 11/12/19 Page 25 of 28
     Fill in this information to identify the case:
     Debtor name: Southern Foods Group, LLC et al.
     United States Bankruptcy Court for the: Southern District of Houston

     Case number (If known): ______________                                                                                                                                        ¨



     Official Form 204
     Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not
     Insiders                                 12/15


     A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims by any person or entity who
     is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the
     holders of the 50 largest unsecured claims.

                                                                                                                                                                             Amountofunsecuredclaim
                                                                                                                                                                 Iftheclaimisfullyunsecured,fillinonlyunsecured
                                                                                                                 Natureoftheclaim(for
                                                                                                                                                                claimamount.Ifclaimispartiallysecured,fillintotal
                                                                                                                  example,tradedebts, Indicateifclaim
                                                                                                                                                                claimamountanddeductionforvalueofcollateralor
Nameofcreditorandcompletemailingaddress,including Name,telephonenumber,andemailaddressofcreditor       bankloans,         iscontingent,
                                                                                                                                                                          setofftocalculateunsecuredclaim.
                       zipcode                                                contact                            professionalservices, unliquidated,or
                                                                                                                                                                                  Deductionfor
                                                                                                                    andgovernment            disputed      Totalclaim,if
                                                                                                                                                                                      valueof
                                                                                                                        contracts)                                partially                            Unsecuredclaim
                                                                                                                                                                                   collateralor
                                                                                                                                                                  secured
                                                                                                                                                                                       setoff
     CentralStatesSoutheast&SouthwestAreasPension                    Attn:ThomasC.Nyhan
     Plan                                                                   Title:ExecutiveDirector                                                              Contingent,
1                                                                                                                                               Pension                                                $722,408,368
     9377WestHigginsRoad                                                 Phone:(847)518Ͳ9800                                                                  Unliquidated
     Rosemont,IL60018Ͳ4938                                                Email:tnyhan@centralstatesfunds.org

                                                                            Attn:MosesBallenger
  TheBankofNewYorkMellonTrustCompany,N.A.
                                                                            Title:Manager
  601TravisStreet                                                                                                                      SeniorUnsecuredNotes
2                                                                           Phone:(713)483Ͳ6674                                                                                                      $700,000,000
  17thFloor                                                                                                                                    due2023
                                                                            Email:mosestidwell.ballenger@bnymellon.com
  Houston,TX77002
                                                                            Fax:(713)483Ͳ6979

                                                                            Attn:RichardP.Smith
  DairyFarmersofAmerica
                                                                            Title:PresidentandChiefExecutiveOfficer
3 1405N.98thStreet                                                                                                                        TradePayable                                             $172,922,316
                                                                            Phone:(816)801Ͳ6410
  KansasCity,KS66111
                                                                            Email:rsmith@dfamilk.com

                                                                            Attn:GaryWashington
  U.S.DepartmentofAgriculture
                                                                            Title:ChiefInformationOfficer
4 1400IndependenceAve.,S.W.                                                                                                               TradePayable                                             $16,781,669
                                                                            Phone:(202)720Ͳ2791
  Washington,DC20250
                                                                            Email:gary.washington@wdc.usda.gov

                                                                            Attn:PatriciaKelly
  PensionBenefitGuarantyCorporation(PBGC)
                                                                            Title:ChiefFinancialOfficer                                                         Contingent,
5 1200KStreet,NW                                                                                                                             Pension                                                   Undetermined
                                                                            Phone:(202)229Ͳ3033                                                                  Unliquidated
  Washington,DC20005
                                                                            Email:kelly.patricia@pbgc.gov

                                                                            Attn:LinoA.Saputo
  SaputoDairyFoodsUSALLC
                                                                            Title:ChiefExecutiveOfficer
6 2711N.HaskellAve.                                                                                                                       TradePayable                                             $8,941,067
                                                                            Phone:(214)863Ͳ2300
  Dallas,TX75204
                                                                            Email:lsaputo@saputo.com

                                                                            Attn:BethE.Ford
  LandO'Lakes,Inc.
                                                                            Title:PresidentandChiefExecutiveOfficer
7 4001LexingtonAve.N                                                                                                                      TradePayable                                             $8,918,879
                                                                            Phone:(651)375Ͳ2222
  ArdenHills,MN55126Ͳ2998
                                                                            Email:bernie.ford@landolakesinc.com

                                                                            Attn:AndreiMikhalevsky
  CaliforniaDairiesInc.
                                                                            Title:PresidentandChiefExecutiveOfficer
8 2000N.PlazaDrive                                                                                                                        TradePayable                                             $7,427,901
                                                                            Phone:(559)625Ͳ2200
  Visalia,CA93291
                                                                            Email:amikhalevsky@californiadairies.com

                                                                            Attn:J.PhillipDworsky
  ConsolidatedContainerCompany                                            Title:ChiefExecutiveOfficer
9 10927thAvenueNE                                                        Phone:(612)706Ͳ2170                                            TradePayable                                             $7,141,381
  Minneapolis,MN55418                                                     Email:pdworsky@containerexperts.com
                                                                            Fax:(612)781Ͳ0967
                                                                            Attn:JimSleeper
   SoutheastMilk,Inc.                                                     Title:ChiefExecutiveOfficer
10 1950SECountyHwy484                                                   Phone:(352)245Ͳ2437                                            TradePayable                                             $6,559,070
   Belleview,FL34420                                                      Email:jim.sleeper@southeastmilk.org
                                                                            Fax:(352)245Ͳ9434
                                                                            Attn:WilliamDemchak
     PNCCommercialCardServices
                                                                            Title:ChiefExecutiveOfficer
     300FifthAvenue
11                                                                          Phone:(800)762Ͳ2265                                            TradePayable                                             $6,389,654
     TheToweratPNCPlaza
                                                                            Email:william.demchak@pnc.com
     Pittsburgh,PA15222Ͳ2707
                                                                            Fax:(412)762Ͳ4482
                                                                            Attn:C.Miles
   SelectMilkProducersInc.                                               Title:ChiefOperatingOfficer
12 320WestHermosaDrive                                                   Phone:(505)746Ͳ6698                                            TradePayable                                             $6,238,533
   Artesia,NM88210                                                        Email:rancem@selectmilk.com
                                                                            Fax:(505)746Ͳ1752

                                                                            Attn:RalphScozzafava
     RalphScozzafava
13                                                                          Phone:OnFile                                                EmployeeSeverance                                           $5,409,896
     AddressonFile
                                                                            Email:OnFile




                                                                                                                           Page1of3
                                  Case 19-36314 Document 1 Filed in TXSB on 11/12/19 Page 26 of 28
                                                                                                                                                                             Amountofunsecuredclaim
                                                                                                                                                                 Iftheclaimisfullyunsecured,fillinonlyunsecured
                                                                                                                 Natureoftheclaim(for
                                                                                                                                                                claimamount.Ifclaimispartiallysecured,fillintotal
                                                                                                                  example,tradedebts, Indicateifclaim
                                                                                                                                                                claimamountanddeductionforvalueofcollateralor
Nameofcreditorandcompletemailingaddress,including Name,telephonenumber,andemailaddressofcreditor       bankloans,         iscontingent,
                                                                                                                                                                          setofftocalculateunsecuredclaim.
                       zipcode                                                contact                            professionalservices, unliquidated,or
                                                                                                                                                                                  Deductionfor
                                                                                                                    andgovernment            disputed      Totalclaim,if
                                                                                                                                                                                      valueof
                                                                                                                        contracts)                                partially                            Unsecuredclaim
                                                                                                                                                                                   collateralor
                                                                                                                                                                  secured
                                                                                                                                                                                       setoff
     EvergreenPackagingInc.                                Attn:JohnRooney
     5350PoplarAvenue                                      Title:ChiefExecutiveOfficer
14                                                                                                                           TradePayable                                                           $4,493,761
     Suite600                                               Phone:(901)821Ͳ5350
     Memphis,TN38119                                       Email:rooney.john@evergreenpackaging.com

                                                             Attn:DeanWimer
   WSPackagingGroup,Inc.
                                                             Title:ChiefExecutiveOfficer
15 2571S.HemlockRoad                                                                                                      TradePayable                                                           $3,865,016
                                                             Phone:(877)977Ͳ5177
   GreenBay,WI54229
                                                             Email:dwimer@wspackaging.com

                                                             Attn:MichaelStolzman
   InternationalPrecisionComponentsCorporation
                                                             Title:President
16 28468N.BallardDrive                                                                                                    TradePayable                                                           $3,815,516
                                                             Phone:(847)234Ͳ1111
   LakeForest,IL60045
                                                             Email:michael@ipcclakeforest.com

                                                             Attn:SteveVoorhees
   WestRock
                                                             Title:ChiefExecutiveOfficer
17 1000AbernathyRoad                                                                                                       TradePayable                                                           $3,673,858
                                                             Phone:(770)448Ͳ2193
   Atlanta,GA30328
                                                             Email:svoorhees@westrock.com

                                                             Attn:CharlesHéaulmé
   HuhtamakiInc.
                                                             Title:PresidentandChiefExecutiveOfficer
18 9201PackagingDrive                                                                                                      TradePayable                                                           $3,606,742
                                                             Phone:(913)583Ͳ3025
   DeSoto,KS66018
                                                             Email:charles.heaulme@huhtamaki.com

                                                             Attn:DouglasM.Baker,Jr.
   EcolabInc.
                                                             Title:ChairmanandChiefExecutiveOfficer
19 1EcolabPlace                                                                                                            TradePayable                                                           $3,302,446
                                                             Phone:(336)668Ͳ7290
   St.Paul,MN55102Ͳ2233
                                                             Email:doug.baker@ecolab.com

     ADMArcherDanielsMidland                              Attn:JuanRicardoLuciano
     77WestWackerDrive                                    Title:ChiefExecutiveOfficer
20                                                                                                                           TradePayable                                                           $2,922,852
     Suite4600                                              Phone:(312)634Ͳ8100
     Chicago,IL60601                                       Email:luciano.botelho@adm.com

                                                             Attn:PaulGrimwood
   NestleUSA
                                                             Title:ChairmanandChiefExecutiveOfficer
21 1812N.MooreStreet                                                                                                      TradePayable                                                           $2,796,090
                                                             Phone:(818)549Ͳ6000
   Arlington,VA22209
                                                             Email:paul.grimwood@us.nestle.com

     SilganPlasticClosureCorporation                      Attn:TonyAllot
     14515NorthOuter40                                    Title:ChiefExecutiveOfficer
22                                                                                                                           TradePayable                                                           $2,724,499
     Suite210                                               Phone:(314)542Ͳ9223
     Chesterfield,MO63017                                  Email:tallot@silgancontainers.com


   MapleDairy                                               Attn:A.J.Bos
23 15857BearMountainBlvd.                                 Title:Owner                                                    TradePayable                                                           $2,666,267
   Bakersfield,CA93311                                     Phone:(661)396Ͳ9600


                                                             Attn:ThomasE.Salmon
   BerryGlobalInc.
                                                             Title:ChiefExecutiveOfficer
24 101OakleyStreet                                                                                                         TradePayable                                                           $2,644,252
                                                             Phone:(812)424Ͳ2904
   Evansville,IN47710
                                                             Email:tsalmon@berryplastics.com

                                                             Attn:ClaytonBrown
   InternationalFoodProducts
                                                             Title:ChiefExecutiveOfficer
25 150LarkinWilliamsIndCt.                                                                                               TradePayable                                                           $2,617,998
                                                             Phone:(636)343Ͳ4111
   Fenton,MO63026
                                                             Email:cbrown@ifpc.com

                                                             Attn:ThomasKormendi
   ElopakInc.
                                                             Title:PresidentandChiefExecutiveOfficer
26 46962LibertyDrive                                                                                                       TradePayable                                                           $2,487,013
                                                             Phone:(248)486Ͳ4600
   Wixom,MI48393
                                                             Email:thomas.kormendi@elopak.com

                                                             Attn:BrianHard
   PenskeTruckLeasingCompanyLP
                                                             Title:PresidentandChiefExecutiveOfficer
27 2675MorgantownRoad                                                                                                      TradePayable                                                           $2,441,056
                                                             Phone:(610)775Ͳ6000
   Reading,PA19607
                                                             Email:brian.hard@penske.com

                                                             Attn:StuartAppelbaum
                                                             Title:UnionChair
                                                             Phone:(205)252Ͳ3589
                                                             Email:stuart@rwdsufunds.com
     RetailWholesale&DepartmentStoreInternational
     UnionandIndustryPensionFund                                                                                                               Contingent,
28                                                           ͲandͲ                                                           Pension                                                                   Undetermined
     190110thAvenueSouth                                                                                                                        Unliquidated
     Birmingham,AL35205
                                                             Attn:DonHopkins
                                                             Title:EmployerChair
                                                             Phone:(205)252Ͳ3589
                                                             Email:don@rwdsufunds.com




                                                                                                            Page2of3
                                 Case 19-36314 Document 1 Filed in TXSB on 11/12/19 Page 27 of 28
                                                                                                                                                                             Amountofunsecuredclaim
                                                                                                                                                                 Iftheclaimisfullyunsecured,fillinonlyunsecured
                                                                                                                 Natureoftheclaim(for
                                                                                                                                                                claimamount.Ifclaimispartiallysecured,fillintotal
                                                                                                                  example,tradedebts, Indicateifclaim
                                                                                                                                                                claimamountanddeductionforvalueofcollateralor
Nameofcreditorandcompletemailingaddress,including Name,telephonenumber,andemailaddressofcreditor       bankloans,         iscontingent,
                                                                                                                                                                          setofftocalculateunsecuredclaim.
                         zipcode                                                 contact                         professionalservices, unliquidated,or
                                                                                                                                                                                  Deductionfor
                                                                                                                    andgovernment            disputed      Totalclaim,if
                                                                                                                                                                                      valueof
                                                                                                                        contracts)                                partially                            Unsecuredclaim
                                                                                                                                                                                   collateralor
                                                                                                                                                                  secured
                                                                                                                                                                                       setoff
   Acosta,Inc.                                           Attn:DanielD.Rath
   c/o:LandisRath&CobbLLP                            Title:Partner                                                                     Contingent,
29 919MarketStreet                                      Phone:(302)467Ͳ4400                                          Litigation         Unliquidated,                                                Undetermined
   Suite1800                                             Email:rath@lrclaw.com                                                               Disputed
   Wilmington,DE19801                                   Fax:(302)467Ͳ4450
   RichardJankowski
                                                          Attn:TimothyJ.Coffey
   c/o:TheCoffeyLawOffice                                                                                                                Contingent,
                                                          Title:Partner
30 1805N.MillStreet                                                                                                   Litigation         Unliquidated,                                                Undetermined
                                                          Phone:(630)326Ͳ6600
   SuiteE                                                                                                                                     Disputed
                                                          Fax:(630)326Ͳ6601
   Naperville,IL60563

Note:UnsecuredamountscontainprojectedestimatesofpreͲpetitionliabilityasofthePetitionDateandaresubjecttochangeasaccruedliabilitiesbecomeinvoiced.




                                                                                                             Page3of3
                      Case 19-36314 Document 1 Filed in TXSB on 11/12/19 Page 28 of 28

 Fill in this information to identify the case and this filing:


              Dean Foods Company
 Debtor Name __________________________________________________________________
                                         Southern
 United States Bankruptcy Court for the: ______________________             Texas
                                                                District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


         
         ■    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 0 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

         ■
                                                       Corporate Ownership Statement and List of Equity Security Holders
              Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    11/12/2019
        Executed on ______________                         8 /s/ Gary Rahlfs
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                 Gary Rahlfs
                                                                ________________________________________________________________________
                                                                Printed name

                                                                Senior Vice President and Chief Financial
                                                                ______________________________________                Officer
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
